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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                      FORT LAUDERDALE DIVISION
                                          www.flsb.uscourts.gov

 In re:                                                       Chapter 11 Cases

 VITAL PHARMACEUTICALS, INC., etal.                            Case No. 22-17842 (PDR)
                                                               (Jointly Administered)
             Debtors.1
                                                     /

 VITAL PHARMACEUTICALS, INC., etal.

                    Plaintiffs,

 v.                                                            Adv. Pro. No.

 JOHN H. OWOC and ENTOURAGE IP
 HOLDINGS, EEC,

                    Defendants.
                                                     /


   ADVERSARY COMPLAINT FOR DECLARATORY JUDGMENT, TURNOVER OF
    ESTATE PROPERTY, AND USURPATION OF A CORPORATE OPPORTUNITY

          Plaintiff Vital Pharmaceuticals, Inc., and its affiliated debtors in the above-captioned

chapter 11 cases (the “Chapter 11 Cases”) as debtors and debtors in possession (each a “Debtor”

and together, the “Debtors”), bring this complaint (this “Complaint”) against John H. Owoc (“Mr,

Owoc”) and Entourage IP Holdings, EEC (“Entourage,” and together with Mr. Owoc, the

“Defendants”) seeking (i) a declaration that the Disputed Assets (as defined below) are property




1 The Debtors include (i) Vital Pharmaceuticals, Inc.; (ii) Bang Energy Canada, Inc.; (iii) JHO Intellectual Property
  Holdings, LLC; (iv) JHO Real Estate Investment, LLC; (v) Quash Seltzer, LLC; (vi) Rainbow Unicom Bev LLC;
  and (vii) Vital Pharmaceuticals International Sales, Inc. The address of the Debtors is 1600 N. Park Drive, Weston,
  FL 33326. The last four digits of the Debtors’ federal tax identification numbers are: (i) Vital Pharmaceuticals,
  Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO
  Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicom Bev LLC (2254); and
  (vii) Vital Pharmaceuticals International Sales, Inc. (8019).

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of the Debtors’ estates, (ii) turnover of the same to the estates, and (iii) establishment of a

constructive trust to hold the same for the benefit of the Debtors, and state as follows:

                                  NATURE OF THIS ACTION

         1.    Since 1993, the Debtors, with the help and support of their non-debtor affiliates,

have worked together to develop a successful beverage company that markets and sells products

to the public under the well-known Bang trademarks. The network of Debtors and certain of their

non-debtor affiliates has always functioned as an integrated business, sharing employees, capital,

creditors, revenue, cash management systems, operational systems, research and development, and

intellectual property. One such non-debtor affiliate is Entourage.

         2.    In late 2020, the Debtors began efforts to launch an alcohol-based hid seltzer

product that shared similar branding with their most popular product and well-known brand, Bang

energy drinks. As a part of those efforts, the Debtors created Quash Seltzer, EEC (“Quash”). In

2021, the Debtors, through Quash, launched its hard seltzer, which was initially branded as MIXX

Hard Seltzer, later re-branded as Bang Hard Seltzer (“MIXX” or “Bang Hard Seltzer”), and whicd

always shared the same Bang branding as the Debtors’ Bang energy drinks. While Quash, one of

the Debtors, led the commercial efforts to manufacture, distribute, market, and ultimately sell Bang

Hard Seltzer, the Debtors’ employees, at the instruction of Mr. Owoc, filed the U.S. trademark

applications that are the subject of this action in the name of Entourage, a non-debtor affiliate

intellectual property holding company controlled by Mr. Owoc.

         3.    Quash and its affiliate Debtors are now in the midst of a process to sell substantially

all of their assets as a going concern. The Bang-related trademarks filed by the Debtors’ employees

in the name of Entourage for use by Quash on alcoholic beverages (as identified in Exhibit 1. the




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“Disputed Assets”)2 are important to that going concern—and to bidders. A value-maximizing

sale requires that the Debtors’ clarify their ownership of, and secure turnover of, the Disputed

Assets. In addition, the Debtors require control of the Disputed Assets so that they, or later a

going-concern buyer, can effectively prosecute the relevant trademark applications with the United

States Patent and Trademark Office (“USPTO”).

         4.      Accordingly, the Debtors requested that Mr. Owoc, the sole owner of Entourage

and the 100% owner of the Debtors, immediately transfer to the Debtors all intellectual property—

including the Disputed Assets—that was created and used by the Debtors, yet applied for under

the name of nondebtor entities. Mr. Owoc refused to do so and further has claimed that he solely

owns the Disputed Assets.

         5.      The Debtors are now forced to bring this action seeking an order from this Court

(i) declaring that the Disputed Assets are property of the Debtors’ estates, (ii) ordering that the

Disputed Assets be turned over to the Debtors, or (iii) establishing a constructive trust to hold the

Disputed Assets for the benefit of the Debtors.

                                     JURISDICTION AND VENUE

         6.      This Court has jurisdiction over this adversary proceeding under 28 U.S.C. §§ 157

and 1334. This is a core proceeding under 28 U.S.C. § 157(b).

         7.      Venue is proper under 28 U.S.C. § 1409(a). This adversary proceeding is related

to the Chapter 11 Cases, which are pending in this Court.

         8.      This adversary proceeding is commenced pursuant to:




2 The Debtors continue to investigate the scope of the Disputed Assets nominally held by Entourage and reserve the
  right to supplement the referenced exhibit and/or amend the Complaint, as appropriate. The Disputed Assets set
  forth on Exhibit 1 also include certain patents covering “electrolyte-containing alcoholic beverages” which are
  directly related to the Debtors’ business.

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                (a)     Rule 7001(1) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), which allows for a proceeding to “recover money or property” of the estate

from a non-debtor;

                (b)     Rule 7001(2) of the Bankruptcy Rules, which allows for a proceeding “to

determine the validity, priority, or extent of a lien or other interest in property”;

                (c)     Rule 7001(7) of the Bankruptcy Rules, which allows for a proceeding to

“obtain an injunction or other equitable relief’;

                (d)     Rule 7001(9) of the Bankruptcy Rules, which allows for a proceeding to

obtain a declaratory judgment relating to the foregoing;

                (e)     11 U.S.C. § 542, which allows for the Debtors to recover property of their

estates; and

                (f)     11 U.S.C § 105(a), which allows this Court to “issue any order, process, or

judgment that is necessary or appropriate to carry out the provisions of’ title 11 of the United

States Code (the “Bankruptcy Code”).

         9.     Declaratory relief is appropriate pursuant to both Rule 7001 of the Bankruptcy

Rules and 28 U.S.C. §§ 2201-02 (the “Declaratory Judgment Act”).

         10.    As set forth below, an actual legal controversy exists with respect to the declaratory

relief requested herein.

         11.    Pursuant to Rule 7008 of the Bankruptcy Rules, the Debtors consent to the entry of

a final judgment or order with respect to this Complaint if it is determined that this Court would

lack Article III jurisdiction to enter such final order or judgment absent the consent of the parties.

                                              PARTIES

         12.    Debtors Vital Pharmaceuticals, Inc., and Bang Energy Canada, Inc., are Florida

corporations.   Debtors JHO Intellectual Property Holdings, EEC (“JHO”), JHO Real Estate

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Investment, LLC, Quash Seltzer, LLC, and Rainbow Unicom Bev LLC are Florida limited liability

companies. Debtor Vital Pharmaceuticals International Sales, Inc., is a Delaware corporation. The

Debtors’ principal place of business is located at 1600 N. Park Drive, Weston, Florida. Each

Debtor is wholly owned by Mr. Owoc.

         13.   Mr. Owoc is the Debtors’ former Chief Executive Officer and Chief Science Officer

and former Chairman of the Debtors’ Board, and resides in Southwest Ranches, Florida.

         14.   Defendant Entourage IP Holdings, LLC, is a Florida limited liability company with

its principal place of business at 1600 N. Park Drive, Weston, Florida. Entourage is solely owned

by Mr. Owoc.

                                  FACTUAL ALLEGATIONS

I.       THE DEBTORS AND THEIR NON-DEBTOR AFFILIATES

         15.   For many years, the Debtors have marketed and sold a wide variety of beverages

and related products, including its leading product, Bang energy drink. The Debtors have operated

as an integrated business with common ownership and control. Mr. Owoc is the sole owner of

each Debtor and all non-debtor affiliates.      At all relevant times, the Debtors have shared

employees, capital, creditors, revenue, cash management systems, operational systems, research

and development, intellectual property, and are inextricably intertwined with each other.         In

particular, Debtor Vital Pharmaceuticals has employed all employees who performed work for and

on behalf of the various Debtor entities. While each Debtor is a distinct legal entity, they all have

overlapping common interests and all work together for the benefit of the Debtors’ business as a

whole.

         16.   It is not only the Debtors who operate in this way. There are also non-debtor

affiliates of the Debtors that exist under the umbrella of Mr. Owoc’s ownership, and which are

closely integrated into the Debtors’ overall corporate structure. These non-debtor affiliates exist

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to further the Debtors’ business objectives and similarly leverage the same employees, capital,

revenue, research and development, and intellectual property as the Debtors.

         17.     Entourage is one such entity. Entourage is solely owned by Mr. Owoc, and up until

Mr. Owoc’s termination as Chief Executive Officer of the Debtors in March 2023, similarly relied

wholly on the employees, capital, operations, and cash, among other things, of the Debtors.

Entourage’s full name, Entourage IP Holdings, EEC, aptly describes Entourage’s role within the

Debtors’ corporate structure—Entourage is an intellectual property holding company. In other

words, Entourage holds certain intellectual property that is used for commercial means by, and for

the ultimate benefit of, the Debtors’ business. Specifically, Entourage was formed to hold the

intellectual property related to the Debtors’ marketing and sale of a line of alcoholic beverage

products that would be sold by Debtor Quash and feature the Debtors’ well-known Bang mark.3

         18.     In its role as a holding company, Entourage did not have its own employees.

Instead, the Debtors and their employees performed and funded all work in connection with assets

that were eventually filed in the name of Entourage. For example, the Debtors’ in-hous o counsel

provided legal services to Entourage on behalf of the Debtors, including applying for and

maintaining Entourage’s trademark applications and registrations with the USPTO. Specifically,

Gideon Eckhouse, the Debtors’ in-house intellectual property counsel, served as the attorney of

record for substantially all of the Disputed Assets until April 2023. And Gregg Metzger, the

Debtors’ in-house counsel, was an authorized representative of Entourage and had authority to

execute contracts on its behalf. In addition, Entourage shared ownership with the Debtors, and

Mr. Owoc could (and would) execute contracts on behalf of Entourage and the Debtors. Further




3 JHO also functioned as an intellectual property holding company for the Debtors. JHO holds the Debtors’ non­
  alcohol intellectual property, including the Bang mark, while Entourage holds the marks for the Debtors’ alcoholic
  beverage products.

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confirming the interrelation between the various entities and the fact that assets held in the name

of Entourage were part of the Debtors’ overall business, the equity of Entourage was pledged for

certain prepetition secured loans issued to the Debtors.

         19.     A chart summarizing the overall corporate structure of the Debtors and their non­

debtor affiliates, including Entourage, is attached hereto as Exhibit 2.

II.      QUASH SELTZER EEC AND THE DISPUTED ASSETS

         20.     In 2020, the Debtors planned to leverage the value of their brand to expand into the

alcoholic beverage market by launching a line of alcoholic beverage products featuring the

Debtors’ well-known Bang mark. Quash was chartered in August 2020 with this goal in mind. It

would market and sell the Debtors’ line of alcoholic beverage products.

         21.     In April 2021, the Debtors launched Quash’s main product—MIXX later re­

branded as Bang Hard Seltzer—which was a Bang-branded alcohol seltzer, and featured Bang

energy’s signature “b” logo and the stylized BANG logo prominently on its can.4 Below is a side-

by-side comparison of Bang energy (left) and MIXX/Bang Hard Seltzer (right):




4 Quash also produced and sold a line of immunity shots called Quash Immunex.

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         22.   In connection with the launch of Debtors’ line of alcoholic beverage products

through Quash, the Debtors, through their employees, filed various U.S. trademark applications

with the USPTO.

         23.   Rather than having these trademark applications filed under the name of Quash or

another Debtor entity such as JHO, which the Debtors were financially capable of doing, and which

would have been consistent with previous practice, Mr. Owoc, as Chief Executive Officer and sole

owner of the Debtors, directed the Debtors’ employees to file applications for the various

trademarks that Quash planned to use, including the Disputed Assets, in the name of Entourage.

         24.   Despite the fact that the Disputed Assets were filed under Entourage’s name,

Entourage did not create, develop, design, or fund any of the Disputed Assets. Indeed, that would

have been impossible as Entourage had none of its own employees. Instead, the Disputed Assets

were created by employees of the Debtors for the purpose of using such assets in connection with

goods being offered for sale by the Debtors. In fact, the Disputed Assets mirror intellectual

property owned by JHO, the only difference being that the Disputed Assets cover alcoholic

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beverages in Class 33, while the trademark registrations owned by JHO cover non-alcoholic

beverages, including energy drinks, coffee beverages, and nutritionally-fortified beverages in

Classes 05, 30, and 32.

         25.   Even though Mr. Owoc directed that the Disputed Assets be filed under the name

of Entourage, on information and belief, Mr. Owoc had no intention that /'j> to itrage would ever

produce commercial products that used any of the Disputed Assets. Instead, Quash (a Debtor)

would use the Disputed Assets to produce, market, and sell various alcoholic beverage products,

including Bang Hard Seltzer. Entourage has never produced, marketed, or sold any products using

the Disputed Assets or otherwise used, licensed, transferred, or assigned the Disputed Assets in a

commercial transaction or setting outside of its dealings with the Debtors and their non-debtor

affiliates. Entourage also has never undertaken a single act to associate the Disputed Assets with

any good or service, or otherwise to give the Disputed Assets any independent value. All such

work was done by the Debtors.

         26.   Moreover, the Debtors paid for all expenses associated with applying for,

registering, and maintaining the Disputed Assets.      The Debtors paid for the applications and

upkeep of the trademarks filed in Entourage’s name, and these expenses were booked in the

Debtors’ books and records as regular business expenses, i.e., payments made in the ordinary

course, not as any kind of distribution or personal payment made on behalf of Mr. Owoc to

Entourage.

         27.   In December 2020, the Debtors began developing a network to distribute and sell

MIXX by engaging in negotiations with various distributors. The Debtors expected to release and

begin selling MIXX to the public in the first quarter of 2021. Entourage did not, and could not,

engage in any such discussions, as it had no employees.



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         28.   In early 2021, the Debtors, through Quash, began marketing and selling various

alcoholic beverages, including MIXX. In so doing, the Debtors, through Quash, made commercial

use of the Disputed Assets. Even though the Disputed Assets were registered under Entourage, all

revenue stemming from the sale of Quash’s products flowed to Debtors (including Quash). No

funds or other monies from the sale of the Debtors’ products that used the Disputed Assets were

allocated to Entourage.

         29.   In short, the Disputed Assets are associated entirely with, derive their value entirely

from, and generate revenue entirely for the Debtors’ business.

III.     THE CHAPTER 11 CASES

         30.   On October 10, 2022, each of the Debtors filed petitions for relief under chapter 11

of the Bankruptcy Code.        The Debtors’ Chapter 11 Cases are being jointly administered.

Entourage is not a debtor in these Chapter 11 Cases.

         31.   The Debtors are operating their business and managing their affairs as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         32.   On November 1, 2022, the Office of the United States Trustee appointed the

Official Committee of Unsecured Creditors in these chapter 11 cases [ECF No. 245],                 On

November 23, 2022, the U.S. Trustee reconstituted the Committee [ECF No. 400],

         33.   On February 24, 2023, the Court entered the Order (I) Approving Bidding

Procedures, (II) Authorizing the Debtors to Provide Bid Protections, and (III) Granting Related

Relief \ECF No. 854] (the “Bidding Procedures Order”) which, among other things, approved a

set of bidding procedures for the sale of all or substantially all of the Debtors’ assets, scheduled

dates to conduct an auction of all or substantially all of the Debtors assets, and approved the

potential sale of all or substantially all of the Debtors’ assets free and clear of all liens, claims,

encumbrances, and interests.

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         34.   After extending and adj ouming deadlines set forth in the Bidding Procedures Order,

on June 12, 2023, the Debtors filed the Notice ofModified Sale-Related Dates and Deadlines [ECF

No. 1457], extending certain sale-related milestones and deadlines and scheduling the hearing on

the sale of all or substantially all of the Debtors’ assets for June 30, 2023 at 10:00 a.m.

IV.      THE DEBTORS’ EFFORTS TO SECURE TRANSFER OF THE DISPUTED
         ASSETS

         35.   In connection with the Debtors’ sale process, the Debtors’ Boards of Directors or

Managers (as applicable) (collectively, the “Board”), repeatedly requested, in writing and at

meetings of the Board attended by Mr. Owoc prior to his dismissal, that Mr. Owoc transfer to the

Debtors certain intellectual property and related assets created and funded by the Debtors yet held

nominally by a non-debtor entity, including the Disputed Assets, because doing so would ensure

that the Debtors would be able to maximize value through a going concern sale.

         36.   At times, Mr. Owoc indicated a willingness to transfer such assets, in recognition

that they were related to the Debtors’ core business. However, despite repeated requests, Mr.

Owoc ultimately failed to transfer or confirm that he would transfer or otherwise assign any of

non-Debtor intellectual property, including the Disputed Assets, to the Debtors.

         37.   On March 9, 2023, the Debtors’ Board voted to terminate the employment of Mr.

Owoc, and to remove Mr. Owoc from the Board for cause.

         38.   The Debtors promptly notified Mr. Owoc and his individual counsel of the Board’s

decision.

V.       ONGOING PROCEEDINGS BEFORE THE TRADEMARK TRIAL AND APPEAL
         BOARD

         39.   Currently, a subset of at least eight trademarks included in the Disputed Assets are

the subject of opposition proceedings in front of the Trademark Trial and Appeal Board (“TTAB”).



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The opposition proceedings were filed by Orange Bang, Inc., and are presently suspended pending

the resolution of a civil action brought by Orange Bang involving the same trademarks.

         40.    If Defendants are permitted to continue to nominally retain the Disputed Assets,

then the Debtors will be excluded from participating in the opposition proceedings currently

pending in front of the TTAB. Those proceedings could result in the invalidation of the Disputed

Assets involved in those proceedings, which would directly and significantly damage the value of

the Debtor Quash.

                                            COUNT I.

                                   Declaratory Judgment
                          (The Debtors Are Entitled to the Trademarks)
                                  Asserted Against All Defendants

         41.    The allegations set forth in Paragraph 1 through Paragraph 40 are incorporated by

reference as if set forth fully herein.

         42.    The Debtors contend they own the Disputed Assets because, among other things,

they were created, designed, and funded by the Debtors for use ia ane of the Debtors’ new product

lines and are associated entirely with, and derive their value entirely from, the Debtors’ business.

Mr. Owoc and Entourage nevertheless assert that the Disputed Assets are not the property of the

Debtors. Thus, an actual legal and substantial controversy exists as to whether the Debtors are the

rightful owners of the Disputed Assets.

         43.    This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202.

         44.    The Debtors are entitled to a declaratory judgment that the Debtors own, and are

therefore entitled to control over, the Disputed Assets.




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                                              COUNT II.

                  Turnover of Estate Property Pursuant to 11 U.S.C. § 542(e)
                                   Asserted Against All Defendants

          45.      The allegations set forth in Paragraph 1 through Paragraph 44 are incorporated by

reference as if set forth fully herein.

          46.      The Disputed Assets are property of the Debtors’ estates pursuant to 11 U.S.C.

§ 541(a).       By holding the Disputed Assets in non-debtor Entourage, Defendants have taken

possession of the Disputed Assets and excluded the Debtors from controlling the Disputed Assets.

          47.      The Disputed Assets are presently nominally in the possession, custody, or control

of Defendants.

          48.      The Debtors have made demands upon Defendants for the turnover of the Disputed

Assets.

          49.      To date, Defendants have failed and refused to turn over the Disputed Assets.

          50.      The Debtors are entitled to entry of an order pursuant to 11 U.S.C. § 542(e)

directing Defendants to turn over the Disputed Assets and granting the Debtors such other and

further relief as may be just and proper.

                                              COUNT III.

                            Usurpation of a Corporate Opportunity
                                   Asserted Against All Defendants

          51.      The allegations set forth in Paragraph 1 through Paragraph 50 are incorporated by

reference as if set forth fully herein.

          52.      As a manager, member, director, and/or officer of the Debtors, Mr. Owoc owed

fiduciary duties to the Debtors.

          53.      The Debtors had an opportunity to file trademark applications for the Disputed

Assets, which would have made it indisputable that the Debtors own the Disputed Assets.

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         54.    The Debtors also had the financial capabilities to file the trademark applications for

the Disputed Assets, and doing so would have fit within the present business activities of the

Debtors at the time as the Disputed Assets were used in, and relevant to, the Debtors’ business.

         55.    By directing the Debtors’ employees to file trademark applications for the Disputed

Assets in the name of Entourage, Defendants wrongfully usurped a corporate opportunity of the

Debtors in violation of Mr. Owoc’s fiduciary duties owed to the Debtors.

         56.    Defendants’ misconduct resulted in the Disputed Assets being held by Entourage

rather than the Debtors, thus proximately causing damage to the Debtors by depriving the Debtors

of their rightful interest in the Disputed Assets, which were created, funded, and used by the

Debtors.

         57.    Due to Mr. Owoc’s breach of his fiduciary duties owed the Debtors, the Debtors

are entitled to a constructive trust to hold the Disputed Assets on behalf of the Debtors and prevent

Defendants’ further unjust enrichment at the expense of the Debtors.

                                     PRAYER FOR RELIEF

         WHEREFORE, the Debtors respectfully request this Court enter an order:

    a) confirming through a declaratory judgment that the Disputed Assets are the property of the

         Debtors;

    b) ordering Defendants to turn over the Disputed Assets to the Debtors;

    c) establishing a constructive trust to hold the Disputed Assets for the benefit of the Debtors;

         and

    d) granting such other and further relief as the Court deems just and proper.




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 Dated:      June 16, 2023                          Respectfully submitted,
             Miami, Florida
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          EXHIBIT 1
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                                                         Exhibit 1 - Disputed Assets

U.S. Trademarks

Mark                      Goods and Services                                                          App. Date & No. /   Owner Name
                                                                                                      Reg. Date & No.
B                         Goods and Services:                                                         App 26-MAY-2021     ENTOURAGE IP HOLDINGS.
                          INT. CL. 30 FROZEN CONFECTIONS. NAMELY. FREEZER POPS; FROZEN CONFECTIONS.   App 90736153        LLC
                          NAMELY. ICES; NON-DAIRY FROZEN CONFECTIONS
                          INT. CL. 33 ALCOHOLIC COCKTAILS IN THE FORM OF FROZEN POPS




Design Phrase: THE MARK
CONSISTS OF THE LETTER
“B" WITH A CIRCLE WITH
FOUR SEGMENTS IN THE
CENTER OF IT CREATING
A TARGET DESIGN.

                          Goods and Services:                                                   App 27-APR-2021           ENTOURAGE IP HOLDINGS.
                          INT. CL. 33 ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-     App 90674518              LLC
                                                            KCEPT BEERS;
                          BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED;
                          ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC BEVERAGES.
                                                                     R
                          BEVERAGES. NAMELY. ALCOHOLIC LIQUOR SHOTS. EXCEPT BEERS

Design Phrase: THE MARK
CONSISTS OF THE LETTER
“B" WITH A CIRCLE WITH
FOUR SEGMENTS IN THE
CENTER OF IT CREATING
A TARGET DESIGN.

BANG                      Goods and Services:                                                         App 26-MAY-2021     ENTOURAGE IP HOLDINGS.
                          INT. CL. 33 ALCOHOLIC COCKTAILS IN THE FORM OF FROZEN POPS                  App 90736091        LLC

BANG                      Goods and Services:                                                         App 26-MAY-2021     ENTOURAGE IP HOLDINGS.
                          INT. CL. 33 ALCOHOLIC COCKTAILS IN THE FORM OF FROZEN POPS                  App 90736179        LLC




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BANG                   Goods and Services:                                                     App 27-APR-2021   ENTOURAGE IP HOLDINGS,
                       INT. CL. 33 ALCOHOLIC BEVERAGES, NAMELY, HARD TEA; HARD TEA; TEA-       App 90674547      LLC
                       FLAVORED ALCOHOLIC BEVERAGES, EXCEPT BEERS; ALCOHOLIC TEA-BASED
                       BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES, OTHER THAN BEER-BASED;
                       ALCOHOLIC BEVERAGES, NAMELY, HARD SELTZER SHOTS; ALCOHOLIC
                       CARBONATED SHOTS; ALCOHOLIC SHOTS

BANG                   Goods and Services:                                                     App 10-AUG-2020   ENTOURAGE IP HOLDINGS,
                       INT. CL. 33 ALCOHOLIC BEVERAGES, EXCEPT BEER; ALCOHOLIC BEVERAGES,      App 90104169      LLC
                       NAMELY, HARD SELTZER; ALCOHOLIC CARBONATED BEVERAGES, EXCEPT BEER;
                       ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED
                       BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED ALCOHOLIC BEVERAGES,
                       OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL

BANG HARD SELTZER      Goods and Services:                                                     App 01-JUL-2021   ENTOURAGE IP HOLDINGS,
                       INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES,      App 90805895      LLC
Disclaims: “EiARD      NAMELY, HARD SELTZER; ALCOHOLIC CARBONATED BEVERAGES, EXCEPT BEER;
SELTZER"               ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED
                       BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED ALCOHOLIC BEVERAGES,
                       OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL; ALCOHOLIC
                       BEVERAGES, NAMELY, HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC
                       BEVERAGES, EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK
                       ALCOHOLIC BEVERAGES, OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES,
                       NAMELY, HARD SELTZER SHOTS; ALCOHOLIC BEVERAGES, NAMELY, ALCOHOLIC
                       CARBONATED LIQUOR SHOTS, EXCEPT BEERS; ALCOHOLIC BEVERAGES, NAMELY,
                       ALCOHOLIC LIQUOR SHOTS, EXCEPT BEERS

BANG POPS              Goods and Services:                                                     App 26-MAY-2021   ENTOURAGE IP HOLDINGS,
                       INT. CL. 33 ALCOHOLIC COCKTAILS IN THE FORM OF FROZEN POPS              App 90736550      LLC
Disclaims: “POPS"

BANG SELTZER           Goods and Services:                                                     App 06-OCT-2021   ENTOURAGE IP HOLDINGS,
                       INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES,      App 97062605      LLC
Disclaims: “SELTZER"   NAMELY, HARD SELTZER; ALCOHOLIC CARBONATED BEVERAGES, EXCEPT BEER;
                       ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED
                       BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED ALCOHOLIC BEVERAGES,
                       OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL; ALCOHOLIC
                       BEVERAGES, NAMELY, HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC
                       BEVERAGES, EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK
                       ALCOHOLIC BEVERAGES, OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES,
                       NAMELY, HARD SELTZER SHOTS; ALCOHOLIC CARBONATED SHOTS EXCEPT BEER;
                       ALCOHOLIC SHOTS EXCEPT BEER




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BE                         Goods and Services:                                                     App 31-JAN-2022       ENTOURAGE IP HOLDINGS.
                           INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES.      App 97246029          LLC
                           NAMELY. HARD SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER;
                           ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MLXED
                           BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MLXED ALCOHOLIC BEVERAGES.
                           OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL; ALCOHOLIC
                           BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC
                           BEVERAGES. EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK
                           ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES.
                           NAMELY. HARD SELTZER SHOTS; ALCOHOLIC CARBONATED SHOTS. EXCEPT BEER;
                           ALCOHOLIC SHOTS. EXCEPT BEER

BRINGING THE BANG          Goods and Services:                                                     App 07-MAY-2021       ENTOURAGE IP HOLDINGS.
                           INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES.      App 90696959          LLC
                           NAMELY. HARD SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER;
                           ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MLXED
                           BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MLXED ALCOHOLIC BEVERAGES.
                           OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL; ALCOHOLIC
                           BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC
                           BEVERAGES. EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK
                           ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES.
                           NAMELY. HARD SELTZER SHOTS; ALCOHOLIC CARBONATED SHOTS. EXCEPT BEER;
                           ALCOHOLIC SHOTS. EXCEPT BEER

IBANG                      Goods and Services:                                                     App 07-MAY-2021       ENTOURAGE IP HOLDINGS.
Cross References: I BANG   INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES.      App 90696881          LLC
                           NAMELY. HARD SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER;
                           ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MLXED
                           BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MLXED ALCOHOLIC BEVERAGES.
                           OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL; ALCOHOLIC
                           BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC
                           BEVERAGES. EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK
                           ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES.
                           NAMELY. HARD SELTZER SHOTS; ALCOHOLIC CARBONATED SHOTS. EXCEPT BEER;
                           ALCOHOLIC SHOTS. EXCEPT BEER


                           Goods and Services:                                                                App 10-AUG-2020     ENTOURAGE IP
                           INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD    App 90104204        HOLDINGS. LLC
                           SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;    Reg 03-AUG-2021
                           ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER;     Reg 6442903
                           PRE-MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC
                           COCKTAIL



Design Phrase: THE MARK


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CONSISTS OF THE LETTER
“B" WITH A CIRCLE WITH
FOUR SEGMENTS IN THE
CENTER OF IT CREATING
A TARGET DESIGN.




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Foreign Marks

Mark                                Country      Goods and Services                                                                                App. Date & No. /   Owner Name
                                                                                                                                                   Reg. Date & No.
                                    Argentina    Goods and Services                                                                                App 30-SEP-2021     ENTOURAGE IP
                                                 33 Class 33: International Limited                                                                App 4058058         HOLDINGS. LLC
                                                 ALCOHOLIC BEVERAGES ONLY. NAMELY. HARD TEA [ALCOHOLIC BEVERAGES];                                                     (United States of
                                                 HARD TEA [ALCOHOLIC BEVERAGE]; TEA-FLAVOR ALCOHOLIC BEVERAGES.                                                        America)
                                                 EXCEPT BEERS; TEA-BASED ALCOHOLIC BEVERAGES; READY-TO-DRINK
                                                 ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES.
                                                 NAMELY. HARD SELTZER SHOTS [CARBONATED ALCOHOLIC BEVERAGES];
                                                 GASIFIED ALCOHOLIC SHORT DRINKS; SHORT ALCOHOLIC DRINKS;

                                    Argentina    Goods and Services                                                                                App 22-APR-2021     ENTOURAGE IP
                                                 33 Class 33: International Limited                                                                App 4004968         HOLDINGS. LLC
                                                 MANUALLY ENTERED TERMS ONLY: ALCOHOLIC BEVERAGES. EXCEPT BEER;                                    Reg 10-FEB-2023     (United States of
                                                 ALCOHOLIC BEVERAGES. NAMELY. CARBON ALCOHOLIC BEVERAGE;                                           Reg 3353791         America)
                                                 CARBONATED ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC MIXTURES
                                                 FOR COCKTAILS; ALCOHOLIC ENERGY DRINKS; MIXED ALCOHOLIC BEVERAGES.
                                                 EXCEPT BEERS; CARBON ALCOHOLIC BEVERAGE; PREMIXED ALCOHOLIC
                                                 BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;

                                    Canada       33 Alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic beverages, except
                                                 beers; alcoholic tea-based beverage; ready-to-drink alcoholic beverages, other than beer-based;

    fee                                          alcoholic beverages, namely, hard seltzer shots; alcoholic carbonated shots; alcoholic shots.




Design Phrase: Hie mark
consists of the letter “b" with a
circle with four segments in
the center of it.

B                                   Canada       33 Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; alcoholic
                                                 carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic energy drinks; alcoholic
                                                 mixed beverages except beers; hard seltzer; pre-mixed alcoholic beverages, other than beer-
                                                 based; prepared alcoholic cocktail.




Design Phrase: Hie mark
consists of the letter “B" with


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a circle with four segments in
the center of it creating a
target design.

B                                Chile              Goods and Services                                                                               App 24-SEP-2021    ENTOURAGE IP
                                                    33 Alcoholic beverages, namely strong tea (malt-based alcoholic beverage); strong tea (alcoholic App 1476063        HOLDINGS. EEC
                                                    beverage based on malt); alcoholic beverages flavored with tea, except beers; tea-based                             (United States of
                                                    alcoholic beverages; ready-to-drink alcoholic beverages, other than beer-based; alcoholic                           America)
                                                    beverages, namely carbonated alcoholic beverages; drinks with alcohol.




                                                    Goods and Services                                                                                App 23-APR-2021   ENTOURAGE IP
                                                    33 Alcoholic beverages, except beers; Carbonated alcoholic beverages, except beers; Cocktail      App 1432126       HOLDINGS. EEC
                                                    mixes with alcohol; Energy drinks with alcohol; Mixed alcoholic beverages, except beers; Hard                       (United States of
                                                    seltzer [light drink with low alcohol content]; Premixed alcoholic beverages other than beer                        America)
                                                    based; Alcoholic cocktail prepared.




                                 India              Goods and Services:                                                                               App 10-JUN-2021   ENTOURAGE IP
                                                    33 Alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic beverages, except      App 5106417       HOLDINGS. EEC
                                                    beers; alcoholic tea-based beverage; ready-to-drink alcoholic beverages, other than beer-based;                     Body Incorporate
                                                    alcoholic beverages, namely, hard seltzer shots; alcoholic carbonated shots; alcoholic shots.                       (United States of
                                                                                                                                                                        America)




                                 India              Goods and Services:                                                                               App 25-FEB-2021   ENTOURAGE IP
                                                    33 Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; alcoholic         App 4962765       HOLDINGS. EEC
                                                    carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic energy drinks; alcoholic                     Body Incorporate
                                                    mixed beverages except beers; hard seltzer; pre-mixed alcoholic beverages, other than beer-                         (United States of
                                                    based; prepared alcoholic cocktail.                                                                                 America)




                                 International    Goods and Services:                                                                                 Reg 10-JUN-2021   Entourage IP
                                 Register,        33 Alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic beverages, except        Reg 1608103       Holdings, EEC
                                 designating: AU, beers; alcoholic tea-based beverage; ready-to-drink alcoholic beverages, other than beer-based;                       (United States of
                                 BH. BR. CA. CH. alcoholic beverages, namely, hard seltzer shots; alcoholic carbonated shots; alcoholic shots.                          America)
                                 CN. CO. EM. GB.
                                 IE. IN. IS. JP.
                                 KR. MX. MY.
                                 NO. NZ. PH. TR

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Design Phrase:
Description
(English) The mark consists
of the letter “b" with a circle
with four segments in the
center of it.


                                  International    Goods and Services:                                                                               Reg 25-FEB-2021            Entourage IP
                                  Register,        33 Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; alcoholic         Reg 1588715                Holdings, EEC
                                  designating: AU, carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic energy drinks; alcoholic                              (United States of
                                  BH. BR, CA. CH. mixed beverages except beers; hard seltzer; pre-mixed alcoholic beverages, other than beer-                                   America)
                                  CN. CO. CY. EM. based; prepared alcoholic cocktail.
                                  GB. IL. IN. IR.
                                  IS. JP. KR. MX.
                                  MY. NO. NZ. PH.
                                  TR
Design Phrase:
Description
(English) The mark consists
of the letter “B" with a circle
with four segments in the
center of it creating a target
design.


                                  Peru               Goods and Services                                                                              App 22-APR-2021            ENTOURAGE IP
                                                     33 alcoholic beverages, except beer; alcoholic beverages, namely hard soft drinks; carbonated     App 894210-2021 (2021­   HOLDINGS. EEC
                                                     alcoholic beverages, except beer; alcoholic mixes for cocktails; alcoholic energy drinks; mixes   894210)                  (United States of
                                                     of alcoholic beverages, except beers; hard seltzer (alcopop); premixed alcoholic beverages, other Reg 30-JUL-2021          America)
                                                     than those based on beer; prepared alcoholic cocktail.                                            Reg P00312649




                                  Peru               Goods and Services                                                                               App 18-SEP-2021           ENTOURAGE IP
                                                     33 alcoholic beverages, namely, hard alcohol; alcoholic beverages flavored with tea, except      App 915335-2021           HOLDINGS. EEC
                                                     beers; tea-based alcoholic beverage; ready-to-drink alcoholic beverages, not based on beer; hard                           (United States of
                                                     seltzer (alcopop), namely premixed alcoholic beverages; shots (shots), namely carbonated                                   America)
                                                     alcoholic beverages; shots (shots), namely alcoholic beverages.




                                  South Africa       Goods and Services:                                                                             App 05-MAY-2021            Entourage IP
                                                     33 Alcoholic beverages, namely, hard tea; Hard tea; tea-flavored alcoholic beverages, except    App 2021/12962             Holdings, EEC, a


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                                       beers; Alcoholic tea-based beverage; Ready-to-drink alcoholic beverages, other than beer-based;                     limited liability
                                       Alcoholic beverages, namely, hard seltzer shots; Alcoholic carbonated shots; Alcoholic shots.                       company organized
                                                                                                                                                           and existing under the
                                                                                                                                                           laws of the State of
                                                                                                                                                           Florida (United States
                                                                                                                                                           of America)


DISCLAIMER
None

                       South Africa    Goods and Services:                                                                               App 26-FEB-2021   Entourage IP
                                       33 Alcoholic beverages, except beer; Alcoholic beverages, including, hard seltzer; Alcoholic      App 2021/05428    Holdings, LLC, a
                                       carbonated beverages, except beer; Alcoholic cocktail mixes; Alcoholic energy drinks;                               limited liability
                                       Alcoholic mixed beverages except beers; Hard seltzer; Pre-mixed alcoholic beverages, other                          company organized
                                       than beer-based; Prepared alcoholic cocktail.                                                                       and existing under the
                                                                                                                                                           laws of the State of
                                                                                                                                                           Florida (LTnited States
                                                                                                                                                           of America)

DISCLAIMER
None

BANG                   Argentina       Goods and Services                                                                                App 30-SEP-2021   ENTOURAGE IP
                                       33 Class 33: International Limited                                                                App 4058059       HOLDINGS. LLC
                                       ALCOHOLIC BEVERAGES ONLY. NAMELY. HARD TEA [ALCOHOLIC BEVERAGES];                                                   (United States of
                                       HARD TEA [ALCOHOLIC BEVERAGE]; TEA-FLAVOR ALCOHOLIC BEVERAGES.                                                      America)
                                       EXCEPT BEERS; TEA-BASED ALCOHOLIC BEVERAGES; READY-TO-DRINK
                                       ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES.
                                       NAMELY. HARD SELTZER SHOTS [CARBONATED ALCOHOLIC BEVERAGES];
                                       GASIFIED ALCOHOLIC SHORT DRINKS; SHORT ALCOHOLIC DRINKS;

BANG                   Argentina       Goods and Services                                                                                App 27-JAN-2021   ENTOURAGE IP
                                       33 Class 33: International Limited                                                                App 3978802       HOLDINGS. LLC
                                       ONLY ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. TO                                                      (United States of
                                       KNOW. GASIFIED ALCOHOLIC BEVERAGE; CARBONATED ALCOHOLIC                                                             America)
                                       BEVERAGES. EXCEPT BEER; ALCOHOLIC MIXTURES FOR COCKTAILS; ENERGY
                                       ALCOHOLIC BEVERAGES; MIXED ALCOHOLIC BEVERAGES. EXCEPT BEERS;
                                       GASIFIED ALCOHOLIC BEVERAGE; PREMIXED ALCOHOLIC BEVERAGES. OTHER
                                       THAN THOSE BASED ON BEER; PREPARED ALCOHOLIC COCKTAIL;

BANG                   Canada          33 Alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic beverages, except      App 04-MAY-2021   Entourage IP
CompuMark Trademark:                   beers; alcoholic tea-based beverage; ready-to-drink alcoholic beverages, other than beer-based;   App 2119387       Holdings, LLC
BANG                                   alcoholic beverages, namely, hard seltzer shots; alcoholic carbonated shots; alcoholic shots.

BANG                   Canada          33 Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; alcoholic         App 14-AUG-2020   Entourage IP
CompuMark Trademark:                   carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic energy drinks; alcoholic   App 2052280       Holdings, LLC
BANG                                   mixed beverages except beers; hard seltzer; pre-mixed alcoholic beverages, other than beer-

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                          based; prepared alcoholic cocktail.

BANG   Chile              Goods and Services                                                                               App 24-SEP-2021           ENTOURAGE IP
                          33 Alcoholic beverages, namely strong tea (malt-based alcoholic beverage); strong tea (alcoholic App 1476083               HOLDINGS, EEC
                          beverage based on malt); alcoholic beverages flavored with tea, except beers; tea-based                                    (United States of
                          alcoholic beverages; ready-to-drink alcoholic beverages, other than beer-based; alcoholic                                  America)
                          beverages, namely carbonated alcoholic beverages; drinks with alcohol.

BANG   Chile              Goods and Services                                                                                 App 15-JAN-2021         ENTOURAGE IP
                          33 Alcoholic beverages, except beer; carbonated alcoholic beverages, except beer; alcoholic        App 1391160             HOLDINGS, EEC
                          cocktail mixes; alcoholic energy drinks; mixed alcoholic beverages, except beers; premixed                                 (United States of
                          alcoholic beverages not based on beer; prepared alcoholic cocktail.                                                        America)

BANG   Colombia           Goods and Services                                                                                 App 04-MAY-2021         ENTOURAGE IP
                          33 alcoholic beverages, namely alcoholic tea; alcoholic teas; alcoholic beverages flavored with    App SD20210063763       HOLDINGS, EEC
                          tea, except beers; tea-based alcoholic beverages; ready-to-drink alcoholic beverages, other than                           (United States of
                          beer-based; alcoholic beverages, namely alcoholic seltzer drinks; alcoholic carbonated drinks;                             America)
                          energy drinks with alcohol.

BANG   India              Goods and Services:                                                                                App 04-MAY-2021         ENTOURAGE IP
                          33 Alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic beverages, except       App 5046074             HOLDINGS, EEC
                          beers; alcoholic tea-based beverage; ready-to-drink alcoholic beverages, other than beer-based;                            Body Incorporate
                          alcoholic beverages, namely, hard seltzer shots; alcoholic carbonated shots; alcoholic shots.                              (United States of
                                                                                                                                                     America)

BANG   International      Goods and Services:                                                                                Reg 04-MAY-2021         Entourage IP
       Register,          33 Alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic beverages, except       Reg 1600400             Holdings, EEC
       designating AU,    beers; alcoholic tea-based beverage; ready-to-drink alcoholic beverages, other than beer-based;                            (United States of
       BR, CA, CH, CN,    alcoholic beverages, namely, hard seltzer shots; alcoholic carbonated shots; alcoholic shots.                              America)
       CO, EM, GB, IL,
       IN, IS, JP, KR,
       MX, MY, NO,
       NZ, PH, TR

BANG   International   Goods and Services:                                                                                   Reg 14-AUG-2020         Entourage IP
       Register,       33 Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; alcoholic             Reg 1550950             Holdings, EEC
       designating AU, carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic energy drinks; alcoholic                               (United States of
       BH, BR, CA, CH, mixed beverages except beers; hard seltzer; pre-mixed alcoholic beverages, other than beer-                                   America)
       CN, CO, CY, EM, based; prepared alcoholic cocktail.
       GB, IL, IN, IR,
       IS, JP, KR, MX,
       MY, NO, NZ, PH,
       TR

BANG   New Zealand        Goods and Services:                                                                                App 23-FEB-2022         Entourage IP
                          33 Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; alcoholic          App 1203567(01203567)   Holdings, EEC
                          carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic energy drinks; alcoholic                            (United States of
                          mixed beverages except beers; hard seltzer; pre-mixed alcoholic beverages, other than beer-                                America)
                          based; prepared alcoholic cocktail.

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BANG                Peru            Goods and Services                                                                                App 19-JAN-2021          ENTOURAGE IP
                                    33 alcoholic beverages, except beer; alcoholic beverages, namely hard soft drinks; carbonated     App 880350-2021 (2021­   HOLDINGS, LLC.
                                    alcoholic beverages, except beer; alcoholic mixes for cocktails; alcoholic energy drinks; mixes   880350)                  (United States of
                                    of alcoholic beverages, except beers; hard seltzer (alcopop); premixed alcoholic beverages, other Reg 28-MAY-2021          America)
                                    than those based on beer; prepared alcoholic cocktail.                                            Reg P00309533

BANG                Peru            Goods and Services                                                                                App 18-SEP-2021          ENTOURAGE IP
                                    33 alcoholic beverages, namely, hard you; alcoholic beverages flavored with tea, except beers;    App 915336-2021          HOLDINGS, LLC.
                                    tea-based alcoholic beverage; ready-to-drink alcoholic beverages, not based on beer; hard seltzer                          (United States of
                                    (alcopop), namely premixed alcoholic beverages; shots (shots), namely carbonated alcoholic                                 America)
                                    beverages; shots (shots), namely alcoholic beverages

BANG                South Africa    Goods and Services:                                                                             App 05-MAY-2021            Entourage IP
                                    33 Alcoholic beverages, namely, hard tea; Hard tea; tea-flavored alcoholic beverages, except    App 2021/12965             Holdings, LLC, a
DISCLAIMER                          beers; Alcoholic tea-based beverage; Ready-to-drink alcoholic beverages, other than beer-based;                            limited liability
None                                Alcoholic beverages, namely, hard seltzer shots; Alcoholic carbonated shots; Alcoholic shots.                              company organized
                                                                                                                                                               and existing under the
                                                                                                                                                               laws of the State of
                                                                                                                                                               Florida (United States
                                                                                                                                                               of America)

BANG                South Africa    Goods and Services:                                                                            App 26-FEB-2021             Entourage IP
                                    33 Alcoholic beverages, except beer; Alcoholic beverages, including, hard seltzer; Alcoholic   App 2021/05429              Holdings, LLC, a
DISCLAIMER                          carbonated beverages, except beer; Alcoholic cocktail mixes; Alcoholic energy drinks;                                      limited liability
None                                Alcoholic mixed beverages except beers; Hard seltzer; Pre-mixed alcoholic beverages, other                                 company organized
                                    than beer-based; Prepared alcoholic cocktail.                                                                              and existing under the
                                                                                                                                                               laws of the State of
                                                                                                                                                               Florida (United States
                                                                                                                                                               of America)

BANG                South Africa    Goods and Services:                                                                            App 17-AUG-2020             Entourage IP
                                    33 Alcoholic beverages, except beer; Alcoholic beverages, namely, hard seltzer; Alcoholic      App 2020/20790              Holdings, LLC, a
DISCLAIMER                          carbonated beverages, except beer; Alcoholic cocktail mixes; Alcoholic energy drinks;                                      limited liability
None                                Alcoholic mixed beverages except beers; Hard seltzer; Pre-mixed alcoholic beverages, other                                 company organized
                                    than beer-based; Prepared alcoholic cocktail.                                                                              and existing under the
                                                                                                                                                               laws of the State of
                                                                                                                                                               Florida (United States
                                                                                                                                                               of America)

BANG HARD SELTZER   Argentina       Goods and Services                                                                             App 16-NOV-2021             ENTOURAGE IP
                                    33 Class 33: International Limited                                                             App 4072621                 HOLDINGS, LLC
                                    MANUALLY ENTERED TERMS ONLY: ALCOHOLIC BEVERAGES, EXCEPT BEER;                                                             (United States of
                                    ALCOHOLIC BEVERAGES, NAMELY, CARBONATED ALCOHOLIC BEVERAGES                                                                America)
                                    (HARD SELTZER); CARBONATED ALCOHOLIC BEVERAGES, EXCEPT BEER;
                                    ALCOHOLIC MIXES FOR COCKTAILS; ALCOHOLIC ENERGY DRINKS; ALCOHOLIC
                                    BLENDED BEVERAGES, EXCEPT BEERS; SPARKLING ALCOHOLIC BEVERAGES
                                    (HARD SELTZER); PREMIXED ALCOHOLIC BEVERAGES, OTHER THAN BEER-
                                    BASED; PREPARED ALCOHOLIC COCKTAIL; ALCOHOLIC BEVERAGES, NAMELY,

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                                          HARD TEA [ALCOHOLIC BEVERAGES]; HARD TEA [ALCOHOLIC BEVERAGE]; TEA-
                                          FLAVOR ALCOHOLIC BEVERAGES, EXCEPT BEERS; TEA-BASED ALCOHOLIC
                                          BEVERAGES; READY-TO-DRINK ALCOHOLIC BEVERAGES, OTHER THAN BEER-
                                          BASED; ALCOHOLIC BEVERAGES, NAMELY, HARD SELTZER SHOTS
                                          [CARBONATED ALCOHOLIC BEVERAGES]; GASIFIED ALCOHOLIC SHORT DRINKS;
                                          SHORT ALCOHOLIC DRINKS;

BANG HARD SELTZER      Canada             33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; alcoholic           App 06-IUL-2021   Entourage IP
CompuMark Trademark:                      carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic energy drinks; alcoholic     App 2132280       Holdings, EEC
BANG HARD SELTZER                         mixed beverages except beers; hard seltzer; pre-mixed alcoholic beverages, other than beer-
                                          based; prepared alcoholic cocktail; alcoholic beverages, namely, hard tea; hard tea; tea-flavored
                                          alcoholic beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                          beverages, other than beer-based; alcoholic beverages, namely, hard seltzer shots; alcoholic
                                          carbonated shots; alcoholic shots.

BANG HARD SELTZER      Chile              Goods and Services                                                                                  App 16-NOV-2021   ENTOURAGE IP
                                          33 Alcoholic beverages, except beers; alcoholic beverages, namely, flavored carbonated              App 1483121       HOLDINGS, EEC
                                          alcoholic beverages; carbonated alcoholic beverages, except beer; alcoholic cocktail                                  (United States of
                                          combinations; alcoholic energy drinks; mixed alcoholic beverages, except beers; flavored                              America)
                                          carbonated alcoholic beverages; premixed alcoholic beverages, not beer-based; prepared
                                          alcoholic cocktail; alcoholic beverages, namely, strong tea (malt-based alcoholic beverage);
                                          strong tea (malt-based alcoholic beverage); tea flavored alcoholic beverages, except beers; tea-
                                          based alcoholic beverages; ready-to-drink alcoholic beverages, not beer-based; alcoholic
                                          beverages, namely, flavored carbonated alcoholic beverages; carbonated alcoholic drinks
                                          (alcoholic beverages); drinks with alcohol (alcoholic beverages).

BANG HARD SELTZER      Colombia           Goods and Services                                                                               App 06-IUL-2021      ENTOURAGE IP
                                          33 products to drink with alcohol, except beers; alcoholic beverages, namely hard seltzer;       App SD20210085348    HOLDINGS, EEC
                                          carbonated alcoholic beverages, except beer; mixes with alcohol for cocktails; energy drinks                          (United States of
                                          with alcohol; mixed alcoholic beverages, except beers; hard seltzer (fermented carbonated                             America)
                                          drinks); mixed alcoholic beverages not based on beer; cocktails with alcohol; alcoholic
                                          beverages, namely alcoholic tea; alcoholic teas; alcoholic beverages flavored with tea, except
                                          beers; tea-based alcoholic beverages; ready-to-drink alcoholic beverages, other than beer-based;
                                          alcoholic beverages, namely alcoholic seltzer drinks; alcoholic carbonated drinks; energy drinks
                                          with alcohol.

BANG HARD SELTZER      India              Goods and Services:                                                                                 App 06-IUL-2021   ENTOURAGE IP
                                          33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; alcoholic           App 5135240       HOLDINGS, EEC
                                          carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic energy drinks; alcoholic                       Body Incorporate
                                          mixed beverages except beers; hard seltzer; pre-mixed alcoholic beverages, other than beer-                           (United States of
                                          based; prepared alcoholic cocktail; alcoholic beverages, namely, hard tea; hard tea; tea-flavored                     America)
                                          alcoholic beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                          beverages, other than beer-based; alcoholic beverages, namely, hard seltzer shots; alcoholic
                                          carbonated shots; alcoholic shots.

BANG HARD SELTZER      International      Goods and Services:                                                                                 Reg 06-IUL-2021   Entourage IP
                       Register,          33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; alcoholic           Reg 1611848       Holdings, EEC
                       designating AU,    carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic energy drinks; alcoholic                       (United States of

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                                  BR, CA, CH, CN,   mixed beverages except beers; hard seltzer; pre-mixed alcoholic beverages, other than beer-                                  America)
                                  CO, EM, GB, IE,   based; prepared alcoholic cocktail; alcoholic beverages, namely, hard tea; hard tea; tea-flavored
                                  IN, IS, JP, KR,   alcoholic beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                  MX, MY, NO,       beverages, other than beer-based; alcoholic beverages, namely, hard seltzer shots; alcoholic
                                  NZ, PH, TR        carbonated shots; alcoholic shots.

BANG HARD SELTZER                 Peru              Goods and Services                                                                                App 17-NOV-2021            ENTOURAGE IP
                                                    33 alcoholic beverages, except beer; alcoholic beverages, namely hard seltzer (alcopop);          App 924168-2021 (2021­     HOLDINGS, EEC.
                                                    carbonated alcoholic beverages, except beer; alcoholic mixes for cocktails; alcoholic energy      924168)                    (United States of
                                                    drinks; mixed alcoholic beverages, except beers; hard seltzer (alcopop); premixed alcoholic       Reg 14-JUL-2022            America)
                                                    beverages, not based on beer; prepared alcoholic cocktail; alcoholic beverages, namely hard tea; Reg P00327719
                                                    tea-flavored alcoholic beverages, except beers; tea-based alcoholic beverage; ready-to-drink
                                                    alcoholic beverages, not based on beer; alcoholic beverages, namely hard seltzer (alcopop) shots;
                                                    carbonated alcoholic shots; alcoholic shots.

BANG HARD SELTZER                 South Africa      Goods and Services:                                                                                 App 07-JUL-2021          Entourage IP
                                                    33 Alcoholic beverages except beers; Alcoholic beverages, namely, hard seltzer; Alcoholic           App 2021/20621           Holdings, EEC, a
DISCLAIMER                                          carbonated beverages, except beer; Alcoholic cocktail mixes; Alcoholic energy drinks;                                        limited liability
Registration of this trade mark                     Alcoholic mixed beverages except beers; Hard seltzer; Pre-mixed alcoholic beverages, other                                   company organized
shall give no right to the                          than beer-based; Prepared alcoholic cocktail; Alcoholic beverages, namely, hard tea; Hard tea;                               and existing under the
exclusive use of the phrase                         tea-flavored alcoholic beverages, except beers; Alcoholic tea-based beverage; Ready-to-drink                                 laws of the State of
“HARD SELTZER",                                     alcoholic beverages, other than beer-based; Alcoholic beverages, namely, hard seltzer shots;                                 Florida (United States
separately and apart from the                       Alcoholic carbonated shots; Alcoholic shots.                                                                                 of America)
mark.
Comment: Registration of this
trade mark shall give no right
to the exclusive use of the
phrase “HARD SELTZER",
separately and apart from the
mark.

BANG MIXX                         Peru              Goods and Services                                                                                  App 04-JUN-2021          ENTOURAGE IP
                                                    33 alcoholic beverages, except beer; alcoholic beverages, namely hard soft drinks; carbonated       App 900485-2021 (2021­   HOLDINGS, EEC.
                                                    alcoholic beverages, except beer; alcoholic energy drinks; hard seltzer (alcopop); prepared         900485)                  (United States of
                                                    alcoholic cocktail.                                                                                 Reg 17-SEP-2021          America)
                                                                                                                                                        Reg P00314696

BANG MIXX                         South Africa      Goods and Services:                                                                                 App 03-MAR-2021          Entourage IP
                                                    33 Alcoholic beverages, except beer; Alcoholic beverages, namely, hard seltzer; Alcoholic           App 2021/06073           Holdings, EEC, a
DISCLAIMER                                          carbonated beverages, except beer; Alcoholic energy drinks; Hard seltzer; Prepared alcoholic                                 limited liability
None                                                cocktail.                                                                                                                    company organized
                                                                                                                                                                                 and existing under the
                                                                                                                                                                                 laws of the State of
                                                                                                                                                                                 Florida (United States
                                                                                                                                                                                 of America)




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Patents

 Application No.   Country         Title                                                Filing Date

 63/167,359        United States   ELECTROLYTE-CONTAINING ALCOHOLIC BEVERAGES           3/29/2021

 17/707,008        United States   ELECTROLYTE-CONTAINING ALCOHOLIC BEVERAGES           3/29/2022




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Copyrights

 Title                      App. No. / Date     Owner                        Screenshot of work
                            Reg. No. / Date

 Bang Hard Seltzer          No. VAuOO 1424265   Entourage IP Holdings, LLC
                            8/10/2020




 THE FIXX PINA COLADA       No. 1-9291629381    Entourage IP Holdings, LLC
                            9/17/2020




                                                                                                  0000J5
 THE FIXX PURPLE KIDDLES    No. 1-9291890529    Entourage IP Holdings, LLC
                            9/17/2020




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THE FIXX STRAWBERRY BLAST        |No. VAuOO 1411972   Entourage IP Holdings, LLC
                                 9/17/2020




THE FIXX FROSE ROSE              PNTo. 1-9291890665   Entourage IP Holdings, LLC
                                 9/17/2020




          Entourage IP Holdings’ unregistered Intellectual Property as it relates to the BANG and B Logo Assets

     Entourage IP Holdings’ unregistered Intellectual Property rights as it relates to the BANG and B Logo assets including:

     (a) rights associated with works of authorship, including exclusive exploitation rights, mask work rights, copyrights,
     copyrightable subject matter, and moral and similar attribution rights, including for can art and packaging design;

     (b) rights associated with trademarks, trade dress, service marks, trade names, and design rights, including all common law
     rights;

     (c) proprietary rights in internet domain names,   addresses, social media and third-party website handles, pages, and
     accounts including the access information for the same;

     (d) trade secrets including formulas, recipes, and ingredients lists including the access information for the same, know-how,
     technical data, processes, techniques, lists of or information relating to suppliers and customers, pricing lists and
     methodologies, cost and market share data, marketing and business plans, financial forecasts and histories, and budgets; and




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(e) patents, design patents, utility models, industrial design and other industrial property rights;




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                                                     Additional U.S. Disputed Assets

Mark                      Goods and Services                                                                    App. Date & Owner Name
                                                                                                                No. / Reg.
                                                                                                                Date & No.
AQUA FUSION               Goods and Services:                                                                   App 03-FEB-    ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD       2022           HOLDINGS. LLC
                          SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;       App 97252631
                          ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                          MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                          EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                          OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                          CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

AQUA FUZION               Goods and Services:                                                                   App 27-SEP-    ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD       2021           HOLDINGS. LLC
                          SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;       App 97047657
                          ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                          MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                          EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                          OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                          CARBONATED SHOTS EXCEPT BEER; ALCOHOLIC SHOTS EXCEPT BEER

BLUE & YELLOW             Goods and Services:                                                                   App 27-APR-    ENTOURAGE IP
LIMONCELLO                INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD       2021           HOLDINGS. LLC
                          SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;       App 90674702
Disclaims: “LIMONCELLO"   ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                          MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                          EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                          OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                          BEVERAGES. NAMELY. ALCOHOLIC CARBONATED LIQUOR SHOTS. EXCEPT BEERS; ALCOHOLIC
                          BEVERAGES. NAMELY. ALCOHOLIC LIQUOR SHOTS. EXCEPT BEERS

BURST                     Goods and Services:                                                                   App 22-JUN-    ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD       2022           HOLDINGS. LLC
                          SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;       App 97470895
                          ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                          MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;




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Mark                      Goods and Services                                                                        App. Date & Owner Name
                                                                                                                    No. / Reg.
                                                                                                                    Date & No.
                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                          EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                          OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                          CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

EINSTEIN WATER            Goods and Services:                                                                      App 02-OCT-      ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; 2020             HOLDINGS. LLC
Disclaims: “WATER"        ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC         App 90232068
                          ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED
                          ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL

FROSE ROSE                Goods and Services:                                                                       App 26-MAY-     ENTOURAGE IP
Cross References: FROSE   INT. CL. 30 FROZEN CONFECTIONS. NAMELY. FREEZER POPS; FROZEN CONFECTIONS. NAMELY. ICES;   2021            HOLDINGS. LLC
ROSE                      NON-DAIRY FROZEN CONFECTIONS. ALL OF THE FORGOING EXCLUDING FROZEN ROSE WINE              App 90736224
                          INT. CL. 33 ALCOHOLIC COCKTAILS IN THE FORM OF FROZEN POPS. ALL OF THE FORGOING EXCLUDING
                          FROZEN ROSE WINE

GEORGIA PEACH             Goods and Services:                                                                   App 27-APR-         ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; HARD SELTZER; ALCOHOLIC        2021                HOLDINGS. LLC
                          BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES. EXCEPT       App 90674726
                          BEERS; ALCOHOLIC TEA-BASED BEVERAGE; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS;
                          ALCOHOLIC BEVERAGES. NAMELY. ALCOHOLIC CARBONATED LIQUOR SHOTS; ALCOHOLIC
                          BEVERAGES. NAMELY. ALCOHOLIC LIQUOR SHOTS

GUESS                     Goods and Services:                                                                        App 06-OCT-    ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD            2021           HOLDINGS. LLC
                          SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;            App 97062634
                          ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                          MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                          EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                          OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                          CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

HYDRATION NATION          Goods and Services:                                                                        App 20-APR-    ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD            2022           HOLDINGS. LLC
                          SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;            App 97372672
                          ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                          MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.




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Mark                      Goods and Services                                                                       App. Date & Owner Name
                                                                                                                   No. / Reg.
                                                                                                                   Date & No.
                          EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                          OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                          CARBONATED SHOTS. EXCEPTT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

HYDRATION SENSATION       Goods and Services:                                                                       App 26-SEP-    ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2021           HOLDINGS. LLC
                          SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97045789
                          ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                          MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                          EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                          OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                          CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

HYDRO FUZION              Goods and Services:                                                                      App 02-OCT-     ENTOURAGE IP
Cross References: HYDRO   INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; 2020            HOLDINGS. LLC
FUSION                    ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC         App 90232326
                          ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED
                          ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL

JUMP                      Goods and Services:                                                                      App 05-OCT-     ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; 2020            HOLDINGS. LLC
                          ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC         App 90235807
                          ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED
                          ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL

KETOFYTES                 Goods and Services:                                                                       App 04-JUN-    ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2021           HOLDINGS. LLC
                          SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 90755764
                          ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                          MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                          EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                          OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                          LIQUOR CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC LIQUOR SHOTS. EXCEPT BEER

LEMON DROP                Goods and Services:                                                                       App 27-APR-    ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2021           HOLDINGS. LLC
                          SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 90674735
                          ALCOHOLIC ENERGY DRINKS; HARD SELTZER; ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD




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Mark              Goods and Services                                                                       App. Date & Owner Name
                                                                                                           No. / Reg.
                                                                                                           Date & No.
                  TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES. EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE;
                  READY-TO-DRINK ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES.
                  NAMELY. HARD SELTZER SHOTS; ALCOHOLIC BEVERAGES. NAMELY. ALCOHOLIC CARBONATED
                  LIQUOR SHOTS. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY ALCOHOLIC LIQUOR SHOTS. EXCEPT
                  BEER

LOVE              Goods and Services:                                                                       App 15-AUG-    ENTOURAGE IP
                  INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2022           HOLDINGS. LLC
                  SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97549236
                  ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                  MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                  ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                  EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                  OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                  CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

MELTDOWN SECRET   Goods and Services:                                                                      App 10-SEP-     ENTOURAGE IP
                  INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; 2020            HOLDINGS. LLC
                  ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC         App 90172574
                  ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED
                  ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL

MIAMI ENERGY      Goods and Services:                                                                       App 24-JUN-    ENTOURAGE IP
                  INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2022           HOLDINGS. LLC
                  SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97474063
                  ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                  MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                  ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                  EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                  OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                  CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

MIAMI UNICORN     Goods and Services:                                                                       App 20-JUN-    ENTOURAGE IP
                  INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2022           HOLDINGS. LLC
                  SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97466402
                  ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                  MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                  ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                  EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.




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Mark                       Goods and Services                                                                    App. Date & Owner Name
                                                                                                                 No. / Reg.
                                                                                                                 Date & No.
                           OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                           CARBONATED SHOTS; ALCOHOLIC SHOTS

OTHERWORLDLY               Goods and Services:                                                                   App 15-AUG-    ENTOURAGE IP
                           INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD       2022           HOLDINGS. LLC
                           SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;       App 97549324
                           ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                           MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                           ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                           EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                           OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                           CARBONATED SHOTS; ALCOHOLIC SHOTS

OZONE                      Goods and Services:                                                                   App 14-OCT-    ENTOURAGE IP
                           INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD       2021           HOLDINGS. LLC
                           SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;       App 97074922
                           ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                           MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                           ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                           EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                           OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                           CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

PLANET POMEGRANATE         Goods and Services:                                                                   App 27-APR-    ENTOURAGE IP
                           INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD       2021           HOLDINGS. LLC
Disclaims: “POMEGRANATE"   SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;       App 90674876
                           ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                           MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                           ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                           EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                           OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                           BEVERAGES. NAMELY. ALCOHOLIC CARBONATED LIQUOR SHOTS. EXCEPT BEER; ALCOHOLIC
                           BEVERAGES. NAMELY. ALCOHOLIC LIQUOR SHOTS. EXCEPT BEER

PURE BLOOD                 Goods and Services:                                                                   App 15-NOV-    ENTOURAGE IP
                           INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD       2021           HOLDINGS. LLC
                           SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;       App 97125769
                           ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                           MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;




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Mark                      Goods and Services                                                                        App. Date & Owner Name
                                                                                                                    No. / Reg.
                                                                                                                    Date & No.
                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                          EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                          OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                          CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

PURPLE KIDDLES            Goods and Services:                                                                       App 26-MAY-    ENTOURAGE IP
                          INT. CL. 30 FROZEN CONFECTIONS. NAMELY. FREEZER POPS; FROZEN CONFECTIONS. NAMELY. ICES;   2021           HOLDINGS. LLC
                          NON-DAIRY FROZEN CONFECTIONS                                                              App 90736269
                          INT. CL. 33 ALCOHOLIC COCKTAILS IN THE FORM OF FROZEN POPS

QUASH                     Goods and Services:                                                                       App 06-OCT-    ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2021           HOLDINGS. LLC
                          SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97062649
                          ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                          MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                          EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                          OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                          CARBONATED SHOTS EXCEPT BEER; ALCOHOLIC SHOTS EXCEPT BEER

QUIZ                      Goods and Services:                                                                       App 06-OCT-    ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2021           HOLDINGS. LLC
                          SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97062659
                          ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                          MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                          EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                          OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                          CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

SECRET                    Goods and Services:                                                                      App 10-SEP-     ENTOURAGE IP
                          INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; 2020            HOLDINGS. LLC
                          ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC         App 90172534
                          ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED
                          ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL

STRAWBERRY BLAST          Goods and Services:                                                                       App 26-MAY-    ENTOURAGE IP
                          INT. CL. 30 FROZEN CONFECTIONS. NAMELY. FREEZER POPS; FROZEN CONFECTIONS. NAMELY. ICES;   2021           HOLDINGS. LLC
Disclaims: “STRAWBERRY"   NON-DAIRY FROZEN CONFECTIONS                                                              App 90736285
                          INT. CL. 33 ALCOHOLIC COCKTAILS IN THE FORM OF FROZEN POPS



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Mark                       Goods and Services                                                                       App. Date & Owner Name
                                                                                                                    No. / Reg.
                                                                                                                    Date & No.
T@GGED                     Goods and Services:                                                                       App 02-NOV-    ENTOURAGE IP
Cross References: TaGGED   INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2021           HOLDINGS. LLC
                           SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97104402
                           ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                           MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                           ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                           EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                           OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                           CARBONATED SHOTS; ALCOHOLIC SHOTS

THE CURE                   Goods and Services:                                                                       App 06-OCT-    ENTOURAGE IP
                           INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2021           HOLDINGS. LLC
                           SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97062677
                           ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                           MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                           ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                           EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                           OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                           CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

ULTRACORN                  Goods and Services:                                                                       App 11-MAY-    ENTOURAGE IP
Cross References: ULTRA    INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2022           HOLDINGS. LLC
CORN                       SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97405057
                           ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                           MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL.
                           EXCEPT BEER

UNDOPE                     Goods and Services:                                                                      App 19-AUG-     ENTOURAGE IP
                           INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; 2020            HOLDINGS. LLC
                           ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC         App 90123906
                           ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED
                           ALCOHOLIC BEVERAGES, OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL

VIBRATE                    Goods and Services:                                                                       App 06-OCT-    ENTOURAGE IP
                           INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2021           HOLDINGS. LLC
                           SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97062684
                           ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                           MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                           ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.




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Mark                        Goods and Services                                                                        App. Date & Owner Name
                                                                                                                      No. / Reg.
                                                                                                                      Date & No.
                            EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                            OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                            CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

vooz                        Goods and Services:                                                                       App 06-OCT-    ENTOURAGE IP
                            INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2021           HOLDINGS. LLC
                            SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97062691
                            ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                            MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                            ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                            EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                            OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                            CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

VR                          Goods and Services:                                                                      App 12-OCT-     ENTOURAGE IP
                            INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; 2020            HOLDINGS. LLC
                            ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC         App 90249518
                            ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED
                            ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL

WETTER THAN WATER           Goods and Services:                                                                      App 02-OCT-     ENTOURAGE IP
                            INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; 2020            HOLDINGS. LLC
                            ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC         App 90232471
                            ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED
                            ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL

WYLDIN' WATERMELON          Goods and Services:                                                                       App 27-APR-    ENTOURAGE IP
Cross References: WILDING   INT. CL. 33 ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC       2021           HOLDINGS. LLC
WATERMELON                  BEVERAGES. EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC           App 90674896
                            BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS;
Disclaims: “WATERMELON"     ALCOHOLIC BEVERAGES. NAMELY. ALCOHOLIC CARBONATED LIQUOR SHOTS. EXCEPT BEERS;
                            ALCOHOLIC BEVERAGES. NAMELY. ALCOHOLIC LIQUOR SHOTS. EXCEPT BEERS

WYLDIN' WATERMELON          Goods and Services:                                                                      App 01-APR-     ENTOURAGE IP
Cross References: WYLDIN    INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; 2021            HOLDINGS. LLC
WATERMELON. WELDING         ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC         App 90618632
WATERMELON                  ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED
                            ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL
Disclaims: “WATERMELON"




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Mark             Goods and Services                                                                       App. Date & Owner Name
                                                                                                          No. / Reg.
                                                                                                          Date & No.
zooz             Goods and Services:                                                                       App 06-OCT-    ENTOURAGE IP
                 INT. CL. 33 ALCOHOLIC BEVERAGES EXCEPT BEERS; ALCOHOLIC BEVERAGES. NAMELY. HARD           2021           HOLDINGS. LLC
                 SELTZER; ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES;           App 97062695
                 ALCOHOLIC ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE­
                 MIXED ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                 ALCOHOLIC BEVERAGES. NAMELY. HARD TEA; HARD TEA; TEA-FLAVORED ALCOHOLIC BEVERAGES.
                 EXCEPT BEERS; ALCOHOLIC TEA-BASED BEVERAGE; READY-TO-DRINK ALCOHOLIC BEVERAGES.
                 OTHER THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER SHOTS; ALCOHOLIC
                 CARBONATED SHOTS. EXCEPT BEER; ALCOHOLIC SHOTS. EXCEPT BEER

FROSE ROSE       Goods and Services:                                                                      App 17-SEP-     ENTOURAGE IP
                 INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; 2020            HOLDINGS. LLC
                 ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC         App 90188775
                 ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; HARD SELTZER; PRE-MIXED           Reg 22-MAR-
                 ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL                  2022
                                                                                                          Reg 6681210

PURPLE KIDDLES   Goods and Services:                                                                      App 17-SEP-     ENTOURAGE IP
                 INT. CL. 33 ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. HARD SELTZER; 2020            HOLDINGS. LLC
                 ALCOHOLIC CARBONATED BEVERAGES. EXCEPT BEER; ALCOHOLIC COCKTAIL MIXES; ALCOHOLIC         App 90188748
                 ENERGY DRINKS; ALCOHOLIC MIXED BEVERAGES EXCEPT BEERS; PRE-MIXED ALCOHOLIC BEVERAGES. Reg 24-AUG-
                 OTHER THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL                                       2021
                                                                                                          Reg 6465249




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                                                      Additional Foreign Disputed Assets

Mark                   Country           Goods and Services                                                                App. Date & No. Owner Name
                                                                                                                           ! Reg. Date &
                                                                                                                           No.
AQUA FUSION            Bolivia           33 Alcoholic beverages, except beers; alcoholic beverages, namely, carbonated App 27-JUL-2022       Entourage IP Holdings, EEC
                                         alcoholic beverages (hard seltzer); Carbonated alcoholic beverages, except beer; App 3488-2022      (United States of America)
                                         alcoholic cocktail mixes; alcoholic energy drinks; mixed alcoholic beverages
                                         except beers; alcoholic carbonated beverage; Premixed alcoholic beverages,
                                         other than beer based; Prepared alcoholic cocktail; alcoholic beverage of tea
                                         (hard tea); alcoholic tea; tea flavored alcoholic beverages, except beers; Tea-
                                         based alcoholic beverage; Ready-to-drink alcoholic beverages, other than beer-
                                         based; Alcoholic beverages, namely, carbonated alcoholic beverage shots (hard
                                         seltzer); alcoholic carbonated drinks; alcoholic drinks.

AQUA FUSION            Canada            33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 08-FEB-2022     Entourage IP Holdings, EEC
CompuMark Trademark:                     alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic App 2174858
AQUA FUSION                              energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                         alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                         alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                         beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                         beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                         shots; alcoholic carbonated shots; alcoholic shots.

AQUA FUSION            Chile             33 Alcoholic beverages except beer; alcoholic beverages, namely, hard seltzer     App 06-JUL-2022   ENTOURAGE IP HOLDINGS.
                                         (lightly flavored, low-proof carbonated alcoholic beverages); carbonated          App 1509612       EEC (United States of America)
                                         alcoholic beverages, except beer; alcoholic cocktail combinations; alcoholic
                                         energy drinks; mixed alcoholic beverages, except beer; hard seltzer (lightly
                                         flavored, low-alcohol carbonated alcoholic beverages); premixed alcoholic
                                         beverages, not beer-based; prepared alcoholic cocktail; alcoholic beverages,
                                         namely, strong tea (malt-based alcoholic beverage); strong tea (malt-based
                                         alcoholic beverage); tea flavored alcoholic beverages, except beer; tea-based
                                         alcoholic beverages; ready-to-drink alcoholic beverages, not beer-based; ;
                                         alcoholic beverages, hard seltzer-based (lightly flavored, low-proof carbonated
                                         alcoholic beverages); carbonated alcoholic beverages; drinks with alcohol.

AQUA FUSION            Colombia          33 products to drink with alcohol, except beers; alcoholic beverages, namely     App 08-FEB-2022    ENTOURAGE IP HOLDINGS.
                                         hard seltzer; carbonated alcoholic beverages, except beer; mixes with alcohol    App                EEC (United States of America)
                                         for cocktails; energy drinks with alcohol; mixed alcoholic beverages, except     SD20220028614
                                         beers; hard seltzer (fennented carbonated drinks); mixed alcoholic beverages
                                         not based on beer; cocktails with alcohol; alcoholic beverages, namely alcoholic
                                         tea; alcoholic teas; alcoholic beverages flavored with tea, except beers; tea-



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Mark          Country             Goods and Services                                                                 App. Date & No. Owner Name
                                                                                                                     ! Reg. Date &
                                                                                                                     No.
                                  based alcoholic beverages; ready-to-drink alcoholic beverages, other than beer-
                                  based; alcoholic beverages, namely alcoholic seltzer drinks; alcoholic
                                  carbonated drinks; energy drinks with alcohol.

AQUA FUSION   Costa Rica          33 Alcoholic beverages except beers; alcoholic beverages, namely, alcoholic        App 07-JUL-2022    ENTOURAGE IP HOLDING
                                  seltzer water; carbonated alcoholic beverages, except beer; alcoholic mixes for    App 2022-0005923   EEC (United States of America)
                                  cocktails; alcoholic energy drinks; mixed alcoholic beverages except beers;
                                  seltzer water with alcohol; non-beer based premixed alcoholic beverages;
                                  prepared alcoholic cocktails; alcoholic beverages, namely, alcoholic iced tea;
                                  tea flavored alcoholic beverages, except beers; tea-based alcoholic beverages;
                                  ready-to-drink alcoholic beverages, not beer-based; alcoholic beverages,
                                  namely, nibbles or shots of alcoholic seltzer water; alcoholic carbonated drinks
                                  or shots; alcoholic drinks or shots.

AQUA FUSION   Ecuador             Goods and Services Computerised Translation:                                       App 12-JUL-2022    ENTOURAGE IP HOLDINGS.
                                  33 Alcoholic beverages (except beers); alcoholic beverages, especially alcoholic App 2022-54632       EEC (United States of America)
                                  soda; carbonated alcoholic beverages, except beer; alcoholic mixes for
                                  cocktails; alcoholic energy drinks; mixed alcoholic beverages except beers;
                                  alcoholic soda; premixed alcoholic beverages, except beer-based; prepared
                                  liquor cocktails; alcoholic beverages, especially alcoholic tea; alcoholic tea; tea
                                  flavored alcoholic beverages, except beers; tea-based alcoholic beverages;
                                  ready-to-drink alcoholic beverages, except beer-based; alcoholic beverages,
                                  especially alcoholic soda shots; carbonated shots with alcohol; alcoholic shots

AQUA FUSION   Guatemala           Goods and Services Computerised Translation:                                       App 06-JUL-2022    ENTOURAGE IP HOLDINGS.
                                  33 Alcoholic beverages, except beers; alcoholic beverages, namely hard seltzer; App 2022007181        EEC (United States of America)
                                  carbonated alcoholic beverages, except beer; alcoholic mixes for cocktails;
                                  alcoholic energy drinks; mixed alcoholic beverages, except beers; hard seltzer;
                                  premixed alcoholic beverages, except beer-based prepared alcoholic cocktail;
                                  alcoholic beverages, namely hard tea; hard tea; tea flavored alcoholic beverages,
                                  except beers; tea-based alcoholic beverage; ready-to-drink alcoholic beverages,
                                  except beer-based; alcoholic beverages, namely hard seltzer shots; carbonated
                                  alcoholic shots; alcoholic shots.

AQUA FUSION   India               Goods and Services:                                                                App 08-FEB-2022    Entourage IP Holdings, EEC
                                  33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 5387585           Body Incorporate (United States
                                  alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic                      of America)
                                  energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                  alcoholic beverages, other than beer-based; prepared alcoholic cocktail;




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Mark          Country                    Goods and Services                                                                App. Date & No. Owner Name
                                                                                                                           ! Reg. Date &
                                                                                                                           No.
                                         alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                         beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                         beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                         shots; alcoholic carbonated shots; alcoholic shots.

AQUA FUSION   International Register,    Goods and Services:                                                              Reg 08-FEB-2022    Entourage IP Holdings, EEC
              designating: ALL BR, CA,   33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; Reg 1651655         (LTnited States of America)
              CN. CO. EG. EM. GB. IN.    alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
              JP. KR. MX. MY. NO. NZ.    energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
              OM. PH. RU. TH. UAE,       alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
              VN                         alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                         beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                         beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                         shots; alcoholic carbonated shots; alcoholic shots.

AQUA FUSION   Peru                       Goods and Services Computerised Translation:                                      App 06-JUL-2022   ENTOURAGE IP HOLDINGS.
                                         33 supplement drink mixes and/or dietary supplements; supplemental diet           App 959106-2022   EEC. (LTnited States of
                                         beverages; diet alcoholic beverages except beers; alcoholic beverages, namely     (2022-959106)     America)
                                         hard seltzer (alcopop); carbonated alcoholic beverages, except beer; alcoholic
                                         cocktail mixes; alcoholic energy drinks; mixed alcoholic beverages except
                                         beers; hard seltzer (alcopop); premixed alcoholic beverages other than beer-
                                         based; prepared alcoholic cocktail; alcoholic beverages, namely, hard tea; hard
                                         tea; tea flavored alcoholic beverages, except beers; tea-based alcoholic
                                         beverage; ready-to-drink alcoholic beverages, not beer-based; alcoholic
                                         beverages, namely, hard seltzer shots (alcopop); alcoholic carbonated shots;
                                         alcoholic drinks (shots).

AQUA FUSION   South Africa               Goods and Services:                                                               App 09-FEB-2022   Entourage IP Holdings, EEC, a
                                         33 Alcoholic beverages except beers; Alcoholic beverages, namely, hard seltzer; App 2022/03764      limited liability company
DISCLAIMER                               Alcoholic carbonated beverages, except beer; Alcoholic cocktail mixes;                              organized and existing under
None                                     Alcoholic energy drinks; Alcoholic mixed beverages except beers; Hard seltzer;                      the laws of the State of Florida
                                         Pre-mixed alcoholic beverages, other than beer-based; Prepared alcoholic                            (LTnited States of America)
                                         cocktail; Alcoholic beverages, namely, hard tea; Hard tea; tea-flavored alcoholic
                                         beverages, except beers; Alcoholic tea-based beverage; Ready-to-drink
                                         alcoholic beverages, other than beer-based; Alcoholic beverages, namely, hard
                                         seltzer shots; Alcoholic carbonated shots; Alcoholic shots.

AQUA FUSION   Taiwan                     Goods and Services:                                                               App 14-FEB-2022   ENTOURAGE IP HOLDINGS.
                                         H033 Alcoholic beverages (except beer); alcoholic beverages containing soda       App 111009105     EEC (LTnited States of America)




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Mark               Country            Goods and Services                                                                App. Date & No. Owner Name
                                                                                                                        ! Reg. Date &
                                                                                                                        No.
                                      (except beer); alcoholic carbonated beverages (except beer); alcoholic mixed      Reg 16-NOV-2022
                                      cocktails; ); non-beer-based premixed alcoholic beverages; premixed alcoholic     Reg 02262729
                                      cocktails; tea wine; tea-flavored alcoholic beverages (except beer); alcoholic
                                      beverages containing tea leaves (except beer); ready-to-drink alcoholic
                                      beverages (except beer ); carbonated alcoholic beverages (other than beer);
                                      spirits.

BLACKBERRY BLAST   Chile              Goods and Services                                                               App 24-SEP-2021    ENTOURAGE IP HOLDINGS.
                                      33 Alcoholic beverages, except beers; carbonated alcoholic beverages; cocktail App 1476085          LLC (United States of America)
                                      combinations with alcohol; energy drinks with alcohol; mixed alcoholic
                                      beverages, except beers; premixed alcoholic beverages, not based on beer;
                                      prepared alcohol cocktail; alcoholic beverages, namely strong tea (malt-based
                                      alcoholic beverage); strong tea (alcoholic beverage based on malt); alcoholic
                                      beverages flavored with tea, except beers; tea-based alcoholic beverages; ready-
                                      to-drink alcoholic beverages, other than beer-based; drinks with alcohol.

BLACKBERRY BLAST   Peril              Goods and Services:                                                               App 18-SEP-2021   ENTOURAGE IP HOLDINGS.
                                      33 alcoholic beverages, except beer; alcoholic beverages, namely hard seltzer     App 915337-2021   LLC. (United States of
                                      (alcopop); carbonated alcoholic beverages, except beer; alcoholic mixes for       (2021-915337)     America)
                                      cocktails; alcoholic energy drinks; mixed alcoholic beverages, except beers;      Reg 03-DEC-2021
                                      premixed alcoholic beverages, not based on beer; prepared alcoholic cocktail;     Reg P00318143
                                      alcoholic beverages, namely hard tea; alcoholic beverages flavored with tea,
                                      except beers; tea-based alcoholic beverage; ready-to-drink alcoholic beverages,
                                      not based on beer; shots (shots), namely alcoholic beverages.

BLUE & YELLOW      Argentina          Goods and Services                                     App 30-SEP-2021                              ENTOURAGE IP HOLDINGS.
LIMONCELLO                            33 Class 33: International Limited                     App 4058062                                  LLC (United States of America)
                                      ALCOHOLIC BEVERAGES ONLY. EXCEPT BEER; ALCOHOLIC
                                      BEVERAGES. NAMELY. CARBONATED ALCOHOLIC BEVERAGES
                                      (HARD SELTZER); CARBONATED ALCOHOLIC BEVERAGES. EXCEPT
                                      BEER; ALCOHOLIC MIXES FOR COCKTAILS; ALCOHOLIC ENERGY
                                      DRINKS; ALCOHOLIC BLENDED BEVERAGES. EXCEPT BEERS;
                                      SPARKLING ALCOHOLIC BEVERAGES (HARD SELTZER); PREMIXED
                                      ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED
                                      ALCOHOLIC COCKTAIL; ALCOHOLIC BEVERAGES. NAMELY. HARD
                                      TEA [ALCOHOLIC BEVERAGES]; HARD TEA [ALCOHOLIC
                                      BEVERAGE]; TEA-FLAVOR ALCOHOLIC BEVERAGES. EXCEPT
                                      BEERS; TEA-BASED ALCOHOLIC BEVERAGES; READY-TO-DRINK
                                      ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC




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Mark                       Country           Goods and Services                                                            App. Date & No. Owner Name
                                                                                                                           ! Reg. Date &
                                                                                                                           No.
                                             BEVERAGES. NAMELY. HARD SELTZER SHOTS [CARBONATED
                                             ALCOHOLIC BEVERAGES]; GASIFIED ALCOHOLIC SHORT DRINKS;
                                             SHORT ALCOHOLIC DRINKS;

BLUE & YELLOW              Canada            33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 04-MAY-2021    Entourage IP Holdings. LLC
LIMONCELLO                                   alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic App 2119392
CompuMark Trademark:                         energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
BLUE & YELLOW                                alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
LIMONCELLO                                   alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
Cross References: BLUE &                     beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
YELLOW LIMON CELLO                           beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                             shots; alcoholic carbonated shots; alcoholic shots.

BLUE & YELLOW              Chile             Goods and Services:                                                              App 24-SEP-2021   ENTOURAGE IP HOLDINGS.
LIMONCELLO                                   33 Alcoholic beverages, except beers; carbonated alcoholic beverages; cocktail App 1476087         LLC (United States of America)
                                             combinations with alcohol; energy drinks with alcohol; mixed alcoholic           Reg 22-AUG-2022
                                             beverages, except beers; premixed alcoholic beverages, not based on beer;        Reg 1378542
                                             prepared alcohol cocktail; alcoholic beverages, namely strong tea (malt-based
                                             alcoholic beverage); strong tea (alcoholic beverage based on malt); alcoholic
                                             beverages flavored with tea. except beers; tea-based alcoholic beverages; ready-
                                             to-drink alcoholic beverages, other than beer-based; drinks with alcohol.

BLUE & YELLOW              Colombia          Goods and Services                                                            App 04-MAY-2021      ENTOURAGE IP HOLDINGS.
LIMONCELLO                                   33 products to drink with alcohol, except beers; alcoholic beverages, namely     App               LLC (United States of America)
                                             hard seltzer; carbonated alcoholic beverages, except beer; mixes with alcohol    SD20210063830
                                             for cocktails; energy drinks with alcohol; mixed alcoholic beverages, except     Reg 07-JUL-2022
                                             beers; hard seltzer (fennented carbonated drinks); mixed alcoholic beverages     Reg 714992
                                             not based on beer; cocktails with alcohol; alcoholic beverages, namely alcoholic
                                             tea; alcoholic teas; alcoholic beverages flavored with tea. except beers; tea-
                                             based alcoholic beverages; ready-to-drink alcoholic beverages, other than beer-
                                             based; alcoholic beverages, namely alcoholic seltzer drinks; alcoholic
                                             carbonated drinks; energy drinks with alcohol.

BLUE & YELLOW              India             Goods and Services:                                                              App 04-MAY-2021   ENTOURAGE IP HOLDINGS.
LIMONCELLO                                   33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 5047415        LLC Body Incorporate (United
                                             alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic                   States of America)
                                             energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                             alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                             alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic




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Mark                   Country                   Goods and Services                                                                App. Date & No. Owner Name
                                                                                                                                   ! Reg. Date &
                                                                                                                                   No.
                                                 beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                                 beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                                 shots; alcoholic carbonated shots; alcoholic shots.

BLUE & YELLOW          International Register,   Goods and Services:                                                              Reg 04-MAY-2021    Entourage IP Holdings, EEC
LIMONCELLO             designating ALL BR, CA,   33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; Reg 1601363         (LTnited States of America)
                       CH. CN. CO. EM. GB. IE.   alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
                       IN. IS. JP. KR. MX. MY.   energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                       NO. NZ. PH. TR            alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                                 alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                                 beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                                 beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                                 shots; alcoholic carbonated shots; alcoholic shots.

BLUE & YELLOW          Peru                      Goods and Services Computerised Translation:                                      App 18-SEP-2021   ENTOURAGE IP HOLDINGS.
LIMONCELLO                                       33 alcoholic beverages, except beer; alcoholic beverages, namely hard seltzer     App 915339-2021   EEC. (LTnited States of
                                                 (alcopop); carbonated alcoholic beverages, except beer; alcoholic mixes for       (2021-915339)     America)
                                                 cocktails; alcoholic energy drinks; mixed alcoholic beverages, except beers;      Reg 04-MAY-2022
                                                 premixed alcoholic beverages, not based on beer; prepared alcoholic cocktail;     Reg P00326803
                                                 alcoholic beverages, namely hard tea; alcoholic beverages flavored with tea,
                                                 except beers; tea-based alcoholic beverage; ready-to-drink alcoholic beverages,
                                                 not based on beer; shots (shots), namely alcoholic beverages.

BLUE & YELLOW          South Africa              Goods and Services:                                                               App 05-MAY-2021   Entourage IP Holdings, EEC, a
LIMONCELLO                                       33 Alcoholic beverages except beers; Alcoholic beverages, namely, hard seltzer; App 2021/12954      limited liability company
                                                 Alcoholic carbonated beverages, except beer; Alcoholic cocktail mixes;                              organized and existing under
DISCLAIMER                                       Alcoholic energy drinks; Alcoholic mixed beverages except beers; Hard seltzer;                      the laws of the State of Florida
None                                             Pre-mixed alcoholic beverages, other than beer-based; Prepared alcoholic                            (LTnited States of America)
                                                 cocktail; Alcoholic beverages, namely, hard tea; Hard tea; tea-flavored alcoholic
                                                 beverages, except beers; Alcoholic tea-based beverage; Ready-to-drink
                                                 alcoholic beverages, other than beer-based; Alcoholic beverages, namely, hard
                                                 seltzer shots; Alcoholic carbonated shots; Alcoholic shots.

BLUE RAZZ              Canada                    Wares and Services:                                                              App 04-MAY-2021    Entourage IP Holdings, EEC
CompuMark Trademark:                             (1) Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 2120833
BLUE RAZZ                                        alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
                                                 energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                                 alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                                 alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic




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Mark        Country            Goods and Services                                                                 App. Date & No. Owner Name
                                                                                                                  ! Reg. Date &
                                                                                                                  No.
                               beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                               beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                               shots; alcoholic carbonated shots; alcoholic shots.

BLUE RAZZ   Argentina          Goods and Services                                     App 30-SEP-2021                               ENTOURAGE IP HOLDINGS.
                               33 Class 33: International Limited                     App 4058061                                   LLC (LTnited States of America)
                               ALCOHOLIC BEVERAGES ONLY. EXCEPT BEER; ALCOHOLIC
                               BEVERAGES. NAMELY. CARBONATED ALCOHOLIC BEVERAGES
                               (HARD SELTZER); CARBONATED ALCOHOLIC BEVERAGES. EXCEPT
                               BEER; ALCOHOLIC MIXES FOR COCKTAILS; ALCOHOLIC ENERGY
                               DRINKS; ALCOHOLIC BLENDED BEVERAGES. EXCEPT BEERS;
                               SPARKLING ALCOHOLIC BEVERAGES (HARD SELTZER); PREMIXED
                               ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED
                               ALCOHOLIC COCKTAIL; ALCOHOLIC BEVERAGES. NAMELY. HARD
                               TEA [ALCOHOLIC BEVERAGES]; HARD TEA [ALCOHOLIC
                               BEVERAGE]; TEA-FLAVOR ALCOHOLIC BEVERAGES. EXCEPT
                               BEERS; TEA-BASED ALCOHOLIC BEVERAGES; READY-TO-DRINK
                               ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC
                               BEVERAGES. NAMELY. HARD SELTZER SHOTS [CARBONATED
                               ALCOHOLIC BEVERAGES]; GASIFIED ALCOHOLIC SHORT DRINKS;
                               SHORT ALCOHOLIC DRINKS;

BLUE RAZZ   Chile              Goods and Services                                                                 App 24-SEP-2021   ENTOURAGE IP HOLDINGS.
                               33 Alcoholic beverages, except beers; carbonated alcoholic beverages; cocktail     App 1476086       LLC (United States of America)
                               combinations with alcohol; energy drinks with alcohol; mixed alcoholic             Reg 31-AUG-2022
                               beverages, except beers; premixed alcoholic beverages, not based on beer;          Reg 1379024
                               prepared alcohol cocktail; alcoholic beverages, namely strong tea (malt-based
                               alcoholic beverage); strong tea (alcoholic beverage based on malt); alcoholic
                               beverages flavored with tea, except beers; tea-based alcoholic beverages; ready-
                               to-drink alcoholic beverages, other than beer-based; drinks with alcohol.

BLUE RAZZ   Colombia           Goods and Services                                                               App 04-MAY-2021     ENTOURAGE IP HOLDINGS.
                               33 products to drink with alcohol, except beers; alcoholic beverages, namely     App                 LLC (United States of America)
                               hard seltzer; carbonated alcoholic beverages, except beer; mixes with alcohol    SD20210066434
                               for cocktails; energy drinks with alcohol; mixed alcoholic beverages, except     Reg 23-FEB-2023
                               beers; hard seltzer (fennented carbonated drinks); mixed alcoholic beverages     Reg 727740
                               not based on beer; cocktails with alcohol; alcoholic beverages, namely alcoholic
                               tea; alcoholic teas; alcoholic beverages flavored with tea, except beers; tea-
                               based alcoholic beverages; ready-to-drink alcoholic beverages, other than beer-




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Mark         Country                   Goods and Services                                                                App. Date & No. Owner Name
                                                                                                                         ! Reg. Date &
                                                                                                                         No.
                                       based; alcoholic beverages, namely alcoholic seltzer drinks; alcoholic
                                       carbonated drinks; energy drinks with alcohol.

BLUE RAZZ    India                     Goods and Services:                                                              App 04-MAY-2021    Entourage IP Holdings, LLC
                                       33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 5056376         Body Incorporate (LTnited States
                                       alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic                    of America)
                                       energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                       alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                       alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                       beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                       beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                       shots; alcoholic carbonated shots; alcoholic shots.

BLUE RAZZ    International Register,   Goods and Services:                                                              Reg 04-MAY-2021    Entourage IP Holdings, LLC
             designating ALL BR, CA,   33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; Reg 1601883         (United States of America)
             CH. CN. CO. EM. GB. IL.   alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
             IN. IS. JP. KR. MX. MY.   energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
             NO. NZ. PH. TR            alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                       alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                       beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                       beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                       shots; alcoholic carbonated shots; alcoholic shots.

BLUE RAZZ    Peru                      Goods and Services                                                                App 18-SEP-2021   ENTOURAGE IP HOLDINGS.
                                       33 alcoholic beverages, except beer; alcoholic beverages, namely hard seltzer     App 915338-2021   LLC (United States of America)
                                       (alcopop); carbonated alcoholic beverages, except beer; alcoholic mixes for       (2021-915338)
                                       cocktails; alcoholic energy drinks; mixed alcoholic beverages, except beers;      Reg 09-DEC-2021
                                       premixed alcoholic beverages, not based on beer; prepared alcoholic cocktail;     Reg P00318275
                                       alcoholic beverages, namely hard tea; alcoholic beverages flavored with tea,
                                       except beers; tea-based alcoholic beverage; ready-to-drink alcoholic beverages,
                                       not based on beer; shots (shots), namely alcoholic beverages.

BLUE RAZZ    South Africa              Goods and Services:                                                               App 05-MAY-2021   Entourage IP Holdings, LLC, a
                                       33 Alcoholic beverages except beers; Alcoholic beverages, namely, hard seltzer; App 2021/12964      limited liability company
DISCLAIMER                             Alcoholic carbonated beverages, except beer; Alcoholic cocktail mixes;                              organized and existing under
None                                   Alcoholic energy drinks; Alcoholic mixed beverages except beers; Hard seltzer;                      the laws of the State of Florida
                                       Pre-mixed alcoholic beverages, other than beer-based; Prepared alcoholic                            (United States of America)
                                       cocktail; Alcoholic beverages, namely, hard tea; Hard tea; tea-flavored alcoholic
                                       beverages, except beers; Alcoholic tea-based beverage; Ready-to-drink




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Mark                   Country            Goods and Services                                                              App. Date & No. Owner Name
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                                                                                                                          No.
                                          alcoholic beverages, other than beer-based; Alcoholic beverages, namely, hard
                                          seltzer shots; Alcoholic carbonated shots; Alcoholic shots.

DRENCH                 Argentina          Goods and Services                                                              App 30-DEC-2021   ENTOURAGE IP HOLDINGS.
                                          33 Class 33: International Limited                       App 4085207                              EEC (United States of America)
                                          MANUALLY ENTERED TERMS ONLY: ALCOHOLIC BEVERAGES.
                                          EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. CARBONATED
                                          ALCOHOLIC BEVERAGES (HARD SELTZER); CARBONATED
                                          ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC MIXES FOR
                                          COCKTAILS; ALCOHOLIC ENERGY DRINKS; ALCOHOLIC BLENDED
                                          BEVERAGES. EXCEPT BEERS; SPARKLING ALCOHOLIC BEVERAGES
                                          (HARD SELTZER); PREMIXED ALCOHOLIC BEVERAGES. OTHER
                                          THAN BEER-BASED; PREPARED ALCOHOLIC COCKTAIL;
                                          ALCOHOLIC BEVERAGES. NAMELY. HARD TEA [ALCOHOLIC
                                          BEVERAGES]; HARD TEA [ALCOHOLIC BEVERAGE]; TEA-FLAVOR
                                          ALCOHOLIC BEVERAGES. EXCEPT BEERS; TEA-BASED ALCOHOLIC
                                          BEVERAGES; READY-TO-DRINK ALCOHOLIC BEVERAGES. OTHER
                                          THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD
                                          SELTZER SHOTS [CARBONATED ALCOHOLIC BEVERAGES];
                                          GASIFIED ALCOHOLIC SHORT DRINKS; SHORT ALCOHOLIC DRINKS;

DRENCH                 Canada             33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 11-OCT-2021   Entourage IP Holdings, EEC
CompuMark Trademark:                      alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic App 2146637
DRENCH                                    energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                          alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                          alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                          beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                          beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                          shots; alcoholic carbonated shots; alcoholic shots.

DRENCH                 Chile              Goods and Services                                                              App 30-DEC-2021   ENTOURAGE IP HOLDINGS.
                                          33 Alcoholic beverages, except beers; Alcoholic beverages, namely, hard seltzer App 1488532       EEC (United States of America)
                                          (lightly flavored, low-alcohol carbonated alcoholic beverages); carbonated
                                          alcoholic beverages, except beer; alcoholic cocktail combinations; alcoholic
                                          energy drinks; mixed alcoholic beverages, except beer; hard seltzer (low-
                                          alcohol, lightly flavored carbonated alcoholic beverages); premixed alcoholic
                                          beverages, not beer-based; prepared alcohol cocktail; alcoholic beverages,
                                          namely strong tea (malt-based alcoholic beverage); strong tea (malt-based
                                          alcoholic beverage); tea flavored alcoholic beverages, except beer; tea-based




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                                                                                                                                No.
                                              alcoholic beverages; ready-to-drink alcoholic beverages, not beer-based;
                                              alcoholic beverages, namely hard seltzer shots (low-proof, lightly flavored
                                              carbonated alcoholic beverages); carbonated alcoholic drinks; alcoholic drinks.

DRENCH          India                         Goods and Services:                                                              App 11-OCT-2021   Entourage IP Holdings, LLC
                                              33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 5210404        Body Incorporate (United States
                                              alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic                   of America)
                                              energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                              alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                              alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                              beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                              beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                              shots; alcoholic carbonated shots; alcoholic shots.

DRENCH          International Register,       Goods and Services:                                                              Reg 11-OCT-2021   Entourage IP Holdings, LLC
                designating AU, BR, CA,       33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; Reg 1624967        (United States of America)
                CH. CN. CO. IL. IN. IS. JP.   alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
                KR. MX. MY. NO. NZ. PH.       energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                TR                            alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                              alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                              beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                              beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                              shots; alcoholic carbonated shots; alcoholic shots.

DRENCH          Peru                          Goods and Services                                                               App 29-DEC-2021   ENTOURAGE IP HOLDINGS.
                                              33 alcoholic beverages, except beer; alcoholic beverages, namely hard seltzer    App 930415-2021   LLC. (United States of
                                              (alcopop); carbonated alcoholic beverages, except beer; alcoholic mixes for      (2021-930415)     America)
                                              cocktails; alcoholic energy drinks; mixed alcoholic beverages, except beers;     Reg 11-MAR-2022
                                              hard seltzer (alcopop); premixed alcoholic beverages, not based on beer;         Reg P00322473
                                              prepared alcoholic cocktail; alcoholic beverages, namely hard tea; tea-flavored
                                              alcoholic beverages, except beers; tea-based alcoholic beverage; ready-to-drink
                                              alcoholic beverages, not based on beer; alcoholic beverages, namely hard seltzer
                                              (alcopop) shots; carbonated alcoholic shots; alcoholic shots.

GEORGIA PEACH   Argentina                     Goods and Services                                     App 30-SEP-2021                             ENTOURAGE IP HOLDINGS.
                                              33 Class 33: International Limited                     App 4058063                                 LLC (United States of America)
                                              ALCOHOLIC BEVERAGES ONLY. EXCEPT BEER; ALCOHOLIC
                                              BEVERAGES. NAMELY. CARBONATED ALCOHOLIC BEVERAGES
                                              (HARD SELTZER); CARBONATED ALCOHOLIC BEVERAGES. EXCEPT




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Mark                   Country           Goods and Services                                                                 App. Date & No. Owner Name
                                                                                                                            ! Reg. Date &
                                                                                                                            No.
                                         BEER; ALCOHOLIC MIXES FOR COCKTAILS; ALCOHOLIC ENERGY
                                         DRINKS; ALCOHOLIC BLENDED BEVERAGES. EXCEPT BEERS;
                                         SPARKLING ALCOHOLIC BEVERAGES (HARD SELTZER); PREMIXED
                                         ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED
                                         ALCOHOLIC COCKTAIL; ALCOHOLIC BEVERAGES. NAMELY. HARD
                                         TEA [ALCOHOLIC BEVERAGES]; HARD TEA [ALCOHOLIC
                                         BEVERAGE]; TEA-FLAVOR ALCOHOLIC BEVERAGES. EXCEPT
                                         BEERS; TEA-BASED ALCOHOLIC BEVERAGES; READY-TO-DRINK
                                         ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC
                                         BEVERAGES. NAMELY. HARD SELTZER SHOTS [CARBONATED
                                         ALCOHOLIC BEVERAGES]; GASIFIED ALCOHOLIC SHORT DRINKS;
                                         SHORT ALCOHOLIC DRINKS;

GEORGIA PEACH          Canada            33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 04-MAY-2021      Entourage IP Holdings. EEC
CompuMark Trademark:                     alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic App 2118297
GEORGIA PEACH                            energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                         alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                         alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                         beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                         beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                         shots; alcoholic carbonated shots; alcoholic shots.

GEORGIA PEACH          Chile             Goods and Services                                                                 App 24-SEP-2021   ENTOURAGE IP HOLDINGS.
                                         33 Alcoholic beverages, except beers; carbonated alcoholic beverages; cocktail     App 1476089       EEC (United States of America)
                                         combinations with alcohol; energy drinks with alcohol; mixed alcoholic             Reg 31-AUG-2022
                                         beverages, except beers; premixed alcoholic beverages, not based on beer;          Reg 1379025
                                         prepared alcohol cocktail; alcoholic beverages, namely strong tea (malt-based
                                         alcoholic beverage); strong tea (alcoholic beverage based on malt); alcoholic
                                         beverages flavored with tea. except beers; tea-based alcoholic beverages; ready-
                                         to-drink alcoholic beverages, other than beer-based; drinks with alcohol.

GEORGIA PEACH          Colombia          Goods and Services                                                               App 04-MAY-2021     ENTOURAGE IP HOLDINGS.
                                         33 products to drink with alcohol, except beers; Alcoholic beverages, namely     App                 EEC (United States of America)
                                         hard seltzer water; products for drinking soft drinks with alcohol, except beer; SD20210062433
                                         mixes with alcohol for cocktails; energy drinks with alcohol; mixed alcoholic    Reg 15-MAR-2022
                                         beverages, except beers; hard seltzer (fennented carbonated drinks); mixed       Reg 704898
                                         alcoholic beverages other than beer based; cocktails with alcohol; alcoholic
                                         beverage products, namely strong teas; strong teas; tea-flavored alcoholic drink
                                         products, except beers; tea-based alcoholic drinks; ready-to-drink alcoholic




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Mark            Country                   Goods and Services                                                                App. Date & No. Owner Name
                                                                                                                            ! Reg. Date &
                                                                                                                            No.
                                          beverage products, not based on beer; alcoholic beverages, namely hard seltzer
                                          drinks; alcoholic carbonated drink products; shots of alcohol.

GEORGIA PEACH   India                     Goods and Services:                                                              App 04-MAY-2021    ENTOURAGE IP HOLDINGS.
                                          33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 5033427         EEC Body Incorporate (United
                                          alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic                    States of America)
                                          energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                          alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                          alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                          beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                          beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                          shots; alcoholic carbonated shots; alcoholic shots.

GEORGIA PEACH   International Register,   Goods and Services:                                                              Reg 04-MAY-2021    Entourage IP Holdings, EEC
                designating AU, BR, CA,   33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; Reg 1599813         (United States of America)
                CH. CN. CO. EM. GB. IL.   alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
                IN. IS. JP. KR. MX. MY.   energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                NO. NZ. PH. TR            alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                          alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                          beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                          beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                          shots; alcoholic carbonated shots; alcoholic shots.

GEORGIA PEACH   Peru                      Goods and Services                                                                App 18-SEP-2021   ENTOURAGE IP HOLDINGS.
                                          33 alcoholic beverages, except beer; alcoholic beverages, namely hard seltzer     App 915340-2021   EEC. (United States of
                                          (alcopop); carbonated alcoholic beverages, except beer; alcoholic mixes for       (2021-915340)     America)
                                          cocktails; alcoholic energy drinks; mixed alcoholic beverages, except beers;      Reg 03-DEC-2021
                                          premixed alcoholic beverages, not based on beer; prepared alcoholic cocktail;     Reg P00318144
                                          alcoholic beverages, namely hard tea; alcoholic beverages flavored with tea,
                                          except beers; tea-based alcoholic beverage; ready-to-drink alcoholic beverages,
                                          not based on beer; shots (shots), namely alcoholic beverages.

GEORGIA PEACH   South Africa              Goods and Services:                                                               App 05-MAY-2021   Entourage IP Holdings, EEC, a
                                          33 Alcoholic beverages except beers; Alcoholic beverages, namely, hard seltzer; App 2021/12963      limited liability company
DISCLAIMER                                Alcoholic carbonated beverages, except beer; Alcoholic cocktail mixes;                              organized and existing under
None                                      Alcoholic energy drinks; Alcoholic mixed beverages except beers; Hard seltzer;                      the laws of the State of Florida
                                          Pre-mixed alcoholic beverages, other than beer-based; Prepared alcoholic                            (United States of America)
                                          cocktail; Alcoholic beverages, namely, hard tea; Hard tea; tea-flavored alcoholic
                                          beverages, except beers; Alcoholic tea-based beverage; Ready-to-drink




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Mark                   Country                   Goods and Services                                                                 App. Date & No. Owner Name
                                                                                                                                    ! Reg. Date &
                                                                                                                                    No.
                                                 alcoholic beverages, other than beer-based; Alcoholic beverages, namely, hard
                                                 seltzer shots; Alcoholic carbonated shots; Alcoholic shots.

JUMP                   Argentina                 Goods and Services                                                                 App 03-MAR-2021   ENTOURAGE IP HOLDINGS.
                                                 33 Class 33: International Limited                                                 App 3988367       EEC (United States of America)
                                                 MANUALLY ENTERED TERMS ONLY: ALCOHOLIC BEVERAGES.                                  Reg 11-NOV-2022
                                                 EXCEPT BEER; ALCOHOLIC BEVERAGES. NAMELY. CARBON                                   Reg 3345485
                                                 ALCOHOLIC BEVERAGE; CARBONATED ALCOHOLIC BEVERAGES.
                                                 EXCEPT BEER; ALCOHOLIC MIXTURES FOR COCKTAILS;
                                                 ALCOHOLIC ENERGY DRINKS; MIXED ALCOHOLIC BEVERAGES.
                                                 EXCEPT BEERS; CARBON ALCOHOLIC BEVERAGE; PREMIXED
                                                 ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED
                                                 ALCOHOLIC COCKTAIL;

JUMP                   Canada                    Wares and Services:                                                              App 22-FEB-2021     Entourage IP Holdings, EEC
CompuMark Trademark:                             (1) Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; App 2096605
JUMP                                             alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
                                                 energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                                 alcoholic beverages, other than beer-based; prepared alcoholic cocktails.

JUMP                   Chile                     Goods and Services                                                                 App 05-MAR-2021   ENTOURAGE IP HOLDINGS.
                                                 33 Alcoholic beverages, except beer; Alcoholic beverages, namely hard seltzer      App 1397187       EEC (United States of America)
                                                 (carbonated drinks with low alcohol content); carbonated alcoholic beverages,      Reg 21-JAN-2022
                                                 except beer; cocktail mixes with alcohol; energy drinks with alcohol; mixed        Reg 1363185
                                                 alcoholic beverages, except beer; carbonated alcoholic beverages [hard seltzer];
                                                 premixed alcoholic beverages, not based on beer; cocktails made with alcohol.

JUMP                   India                     Goods and Services:                                                              App 22-FEB-2021     Entourage IP Holdings, EEC
                                                 33 Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; App 4934908          Body Incorporate (United States
                                                 alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic                     of America)
                                                 energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                                 alcoholic beverages, other than beer-based; prepared alcoholic cocktails.

JUMP                   International Register,   Goods and Services:                                                                Reg 22-FEB-2021   Entourage IP Holdings, EEC
                       designating AU, BH, BR,   33 Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; Reg 1583909          (United States of America)
                       CA. CH. CO. EM. GB. IL.   alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
                       IN. IR. IS. MX. MY. NO.   energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                       NZ. PH. TR                alcoholic beverages, other than beer-based; prepared alcoholic cocktails.

JUMP                   Peru                      Goods and Services                                                                 App 03-MAR-2021   ENTOURAGE IP HOLDINGS.




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Mark                   Country               Goods and Services                                                               App. Date & No. Owner Name
                                                                                                                              ! Reg. Date &
                                                                                                                              No.
                                             33 alcoholic beverages, except beer; alcoholic beverages, namely hard sodas      App 886653-2021   LLC. (LTnited States of
                                             (alcoholic sodas - hard seltzer); carbonated alcoholic beverages, except beer;   (2021-886653)     America)
                                             alcoholic mixes for cocktails; alcoholic energy drinks; mixed alcoholic          Reg 10-SEP-2021
                                             beverages, except beers; premixed alcoholic beverages, other than those based    Reg P00314532
                                             on beer; prepared alcoholic cocktail.

JUMP                   South Africa          Goods and Services:                                                             App 23-FEB-2021    Entourage IP Holdings, LLC, a
                                             33 Alcoholic beverages, except beer; Alcoholic beverages, namely, hard seltzer; App 2021/05096     limited liability company
DISCLAIMER                                   Alcoholic carbonated beverages, except beer; Alcoholic cocktail mixes;                             organized and existing under
None                                         Alcoholic energy drinks; Alcoholic mixed beverages except beers; Hard seltzer;                     the laws of the State of Florida
                                             Pre-mixed alcoholic beverages, other than beer-based; Prepared alcoholic                           (United States of America)
                                             cocktail.

LEMON DROP             Argentina             Goods and Services                                                               App 30-SEP-2021   ENTOURAGE IP HOLDINGS.
                                             33 Class 33: International Limited                                               App 4058064       LLC (United States of America)
                                             ALCOHOLIC BEVERAGES ONLY. EXCEPT BEER; ALCOHOLIC
                                             BEVERAGES. NAMELY. CARBONATED ALCOHOLIC BEVERAGES
                                             (HARD SELTZER); CARBONATED ALCOHOLIC BEVERAGES. EXCEPT
                                             BEER; ALCOHOLIC MIXES FOR COCKTAILS; ALCOHOLIC ENERGY
                                             DRINKS; ALCOHOLIC BLENDED BEVERAGES. EXCEPT BEERS;
                                             SPARKLING ALCOHOLIC BEVERAGES (HARD SELTZER); PREMIXED
                                             ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED
                                             ALCOHOLIC COCKTAIL; ALCOHOLIC BEVERAGES. NAMELY. HARD
                                             TEA [ALCOHOLIC BEVERAGES]; HARD TEA [ALCOHOLIC
                                             BEVERAGE]; TEA-FLAVOR ALCOHOLIC BEVERAGES. EXCEPT
                                             BEERS; TEA-BASED ALCOHOLIC BEVERAGES; READY-TO-DRINK
                                             ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC
                                             BEVERAGES. NAMELY. HARD SELTZER SHOTS [CARBONATED
                                             ALCOHOLIC BEVERAGES]; GASIFIED ALCOHOLIC SHORT DRINKS;
                                             SHORT ALCOHOLIC DRINKS;

LEMON DROP             Canada                33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 04-MAY-2021    Entourage IP Holdings, LLC
CompuMark Trademark:                         alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic App 2118295
LEMON DROP                                   energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                             alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                             alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                             beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                             beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                             shots; alcoholic carbonated shots; alcoholic shots.




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Mark         Country                   Goods and Services                                                                 App. Date & No. Owner Name
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                                                                                                                          No.
LEMON DROP   Chile                     Goods and Services                                                                 App 24-SEP-2021   ENTOURAGE IP HOLDINGS.
                                       33 Alcoholic beverages, except beers; carbonated alcoholic beverages; cocktail     App 1476090       LLC (LTnited States of America)
                                       combinations with alcohol; energy drinks with alcohol; mixed alcoholic             Reg 31-AUG-2022
                                       beverages, except beers; premixed alcoholic beverages, not based on beer;          Reg 1379026
                                       prepared alcohol cocktail; alcoholic beverages, namely strong tea (malt-based
                                       alcoholic beverage); strong tea (alcoholic beverage based on malt); alcoholic
                                       beverages flavored with tea, except beers; tea-based alcoholic beverages; ready-
                                       to-drink alcoholic beverages, other than beer-based; drinks with alcohol.

LEMON DROP   Colombia                  Goods and Services                                                               App 04-MAY-2021     ENTOURAGE IP HOLDINGS.
                                       33 products to drink with alcohol, except beers; alcoholic beverages, namely     App                 LLC (United States of America)
                                       hard seltzer; carbonated alcoholic beverages, except beer; mixes with alcohol    SD20210062442
                                       for cocktails; energy drinks with alcohol; mixed alcoholic beverages, except     Reg 04-FEB-2022
                                       beers; hard seltzer (fennented carbonated drinks); mixed alcoholic beverages     Reg 707294
                                       not based on beer; cocktails with alcohol; alcoholic beverages, namely alcoholic
                                       tea; alcoholic teas; alcoholic beverages flavored with tea, except beers; tea-
                                       based alcoholic beverages; ready-to-drink alcoholic beverages, other than beer-
                                       based; alcoholic beverages, namely alcoholic seltzer drinks; alcoholic
                                       carbonated drinks; energy drinks with alcohol.

LEMON DROP   India                     Goods and Services:                                                              App 04-MAY-2021     ENTOURAGE IP HOLDINGS.
                                       33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 5030378          LLC Body Incorporate (United
                                       alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic                     States of America)
                                       energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                       alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                       alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                       beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                       beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                       shots; alcoholic carbonated shots; alcoholic shots.

LEMON DROP   International Register,   Goods and Services:                                                                Reg 04-MAY-2021   Entourage IP Holdings, LLC
             designating AU, BR, CA,   33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; Reg 1599942          (United States of America)
             CH. CN. CO. EM. GB. IL.   alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
             IN. IS. JP. KR. MX. MY.   energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
             NO. NZ. PH. TR            alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                       alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                       beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                       beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                       shots; alcoholic carbonated shots; alcoholic shots.




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Mark           Country               Goods and Services                                                                App. Date & No. Owner Name
                                                                                                                       ! Reg. Date &
                                                                                                                       No.
LEMON DROP     Pern                  Goods and Services                                                                App 18-SEP-2021   ENTOURAGE IP HOLDINGS.
                                     33 alcoholic beverages, except beer; alcoholic beverages, namely hard seltzer     App 915341-2021   LLC. (LTnited States of
                                     (alcopop); carbonated alcoholic beverages, except beer; alcoholic mixes for       (2021-915341)     America)
                                     cocktails; alcoholic energy drinks; mixed alcoholic beverages, except beers;
                                     premixed alcoholic beverages, not based on beer; prepared alcoholic cocktail;
                                     alcoholic beverages, namely hard tea; alcoholic beverages flavored with tea,
                                     except beers; tea-based alcoholic beverage; ready-to-drink alcoholic beverages,
                                     not based on beer; shots (shots), namely alcoholic beverages.

LEMON DROP     South Africa          Goods and Services:                                                               App 05-MAY-2021   Entourage IP Holdings, LLC, a
                                     33 Alcoholic beverages except beers; Alcoholic beverages, namely, hard seltzer; App 2021/12966      limited liability company
DISCLAIMER                           Alcoholic carbonated beverages, except beer; Alcoholic cocktail mixes;                              organized and existing under
None                                 Alcoholic energy drinks; Alcoholic mixed beverages except beers; Hard seltzer;                      the laws of the State of Florida
                                     Pre-mixed alcoholic beverages, other than beer-based; Prepared alcoholic                            (United States of America)
                                     cocktail; Alcoholic beverages, namely, hard tea; Hard tea; tea-flavored alcoholic
                                     beverages, except beers; Alcoholic tea-based beverage; Ready-to-drink
                                     alcoholic beverages, other than beer-based; Alcoholic beverages, namely, hard
                                     seltzer shots; Alcoholic carbonated shots; Alcoholic shots.

MIAMI ENERGY   Bahrain               Goods and                                                                         App 30-NOV-2022      dj dj ‘
                                     33 alcoholic beverages other than beer; alcoholic beverages, in particular        App 137545
                                     sparkling alcoholic beverages; carbonated alcoholic beverages, other than beer;
                                     alcoholic cocktail mixes; alcoholic energy drinks; drinks mixed with alcohol
                                     other than beer; sparkling alcoholic beverage; premixed alcoholic beverages
                                     other than beer-based; prepared alcoholic cocktail; alcoholic beverages, in
                                     particular alcoholic tea; alcoholic tea; tea-flavored alcoholic beverages other
                                     than beer; tea-based alcoholic beverages; ready-to-drink alcoholic beverages
                                     other than those based on beer; alcoholic beverages, in particular sparkling
                                     spirits; soft drink glasses; Alcoholic glasses

MIAMI ENERGY   Bolivia               Goods and Services                                                               App 01-NOV-2022    Entourage IP Holdings, LLC
                                     33 Alcoholic beverages, except beers; alcoholic beverages, namely, carbonated App 5131-2022         (United States of America)
                                     alcoholic beverages (hard seltzer); Carbonated alcoholic beverages, except beer;
                                     alcoholic cocktail mixes; alcoholic energy drinks; mixed alcoholic beverages
                                     except beers; alcoholic carbonated beverage; Premixed alcoholic beverages,
                                     other than beer based; Prepared alcoholic cocktail; alcoholic beverage of tea
                                     (hard tea); alcoholic tea; tea flavored alcoholic beverages, except beers; Tea-
                                     based alcoholic beverage; Ready-to-drink alcoholic beverages, other than beer-
                                     based; Alcoholic beverages, namely, carbonated alcoholic beverage shots (hard




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Mark                   Country             Goods and Services                                                            App. Date & No. Owner Name
                                                                                                                         ! Reg. Date &
                                                                                                                         No.
                                           seltzer); alcoholic carbonated drinks; alcoholic drinks.

MIAMI ENERGY           Canada              Wares and Services:                                                              App 01-JUL-2022     Entourage IP Holdings, EEC
CompuMark Trademark:                       (1) Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 2200868
MIAMI ENERGY                               alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
                                           energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                           alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                           alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                           beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                           beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                           shots; alcoholic carbonated shots; alcoholic shots.

MIAMI ENERGY           Chile               Goods and Services                                                              App 21-OCT-2022      ENTOURAGE IP HOLDINGS.
                                           33 Alcoholic beverages, except beers; alcoholic beverages, namely, hard seltzer App 1521958          EEC (United States of America)
                                           (carbonated alcoholic beverage); carbonated alcoholic beverages, except beers;
                                           alcoholic mixes for cocktails; alcoholic energy drinks; mixed alcoholic
                                           beverages except beers; premixed alcoholic beverages, not beer-based; cocktail
                                           prepared with alcohol; alcoholic beverages, namely, strong tea (malt-based
                                           alcoholic beverage); tea flavored alcoholic beverages, except beers; tea-based
                                           alcoholic beverage; Non-beer-based ready-to-drink alcoholic beverages;
                                           Alcoholic beverages, carbonated alcoholic beverages.

MIAMI ENERGY           Colombia            Goods and Services                                                                App 01-JUL-2022    ENTOURAGE IP HOLDINGS.
                                           33 alcoholic beverages [except beer]; alcoholic beverages, namely carbonated      App                EEC (United States of America)
                                           alcoholic beverages, except beer; alcoholic mixes for cocktails; alcoholic energy SD20220076176
                                           drinks; mixed alcoholic beverages, except beers; hard seltzer (fennented
                                           carbonated drinks); mixed alcoholic beverages not based on beer; alcoholic
                                           cocktails; alcoholic beverages, namely, alcoholic tea; alcoholic teas; tea
                                           flavored alcoholic beverages, except beers; tea-based alcoholic beverages;
                                           ready-to-drink alcoholic beverages, not beer-based; alcoholic beverages,
                                           namely, alcoholic seltzers; alcoholic carbonated drinks; alcoholic energy drinks.

MIAMI ENERGY           Costa Rica          Goods and Services                                                                 App 10-OCT-2022   ENTOURAGE IP HOLDINGS.
                                           33 alcoholic beverages except beers • alcoholic beverages, namely, spirited        App 2022-009517   EEC (United States of America)
                                           seltzer • carbonated alcoholic beverages, except beer • alcoholic cocktail mixes •
                                           alcoholic energy drinks • mixed alcoholic beverages except beers • spirited
                                           seltzer • premixed alcoholic beverages containing non-beer-based • prepared
                                           alcoholic cocktails • alcoholic beverages, namely, alcoholic iced tea • tea-
                                           flavored alcoholic beverages, except beers • tea-based alcoholic beverages •




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Mark           Country            Goods and Services                                                              App. Date & No. Owner Name
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                                                                                                                  No.
                                  non-beer-based ready-to-drink alcoholic beverages of beer • alcoholic
                                  beverages, namely, mini shots or shots of alcoholic seltzer water • alcoholic
                                  carbonated shots or cocktails • alcoholic shots or cocktails

MIAMI ENERGY   Ecuador            Goods and Services                                                              App 20-OCT-2022      ENTOURAGE IP HOLDINGS.
                                  33 Alcoholic beverages except beers; Alcoholic beverages, especially alcoholic App 2022-82116        EEC (United States of America)
                                  soda; Carbonated alcoholic beverages, except beer; alcoholic mixes for
                                  cocktails; alcoholic energy drinks; Mixed alcoholic beverages except beers;
                                  Soda with alcohol; Premixed alcoholic beverages, except beer-based; prepared
                                  liqueur cocktails; Alcoholic beverages, especially alcoholic tea; tea with
                                  alcohol; Tea flavored alcoholic beverages, except beers; tea-based alcoholic
                                  beverages; Ready-to-drink alcoholic beverages, except beer-based; Alcoholic
                                  beverages, especially alcoholic soda shots; Alcohol carbonated shots; Shots with
                                  alcohol.

MIAMI ENERGY   Guatemala          Goods and Services                                                                App 18-OCT-2022    ENTOURAGE IP HOLDINGS.
                                  33 Alcoholic beverages, except beers; alcoholic beverages, namely, hard seltzer; App 2022011312      EEC (United States of America)
                                  carbonated alcoholic beverages, except beer; alcoholic cocktail mixes; alcoholic
                                  energy drinks; mixed alcoholic beverages, except beers; hard seltzer; premixed
                                  alcoholic beverages, other than beer-based prepared alcoholic cocktails;
                                  alcoholic beverages, namely hard tea; hard tea; tea flavored alcoholic beverages,
                                  except beers; tea-based alcoholic beverage; ready-to-drink alcoholic beverages,
                                  other than beer-based; alcoholic beverages, namely, hard seltzer shots; sparkling
                                  alcoholic shots; alcoholic shots.

MIAMI ENERGY   India              Goods and Services:                                                              App 01-JUL-2022     Entourage IP Holdings, EEC
                                  33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 5554467          Body Incorporate (United States
                                  alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic                     of America)
                                  energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                  alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                  alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                  beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                  beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                  shots; alcoholic carbonated shots; alcoholic shots.

MIAMI ENERGY   Indonesia          Goods and Services                                                                 App 01-JUL-2022   ENTOURAGE IP HOLDINGS.
                                  33 Mixed alcoholic cocktails, seltzer hard, prepared alcoholic cocktails,          App               EEC (United States of America)
                                  alcoholic beverages except beer, pre-mixed alcoholic beverages, other than         M0020221674869
                                  beer-based, tea-flavored spirits, except beer, ready-to-drink alcoholic beverages,




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Mark           Country                   Goods and Services                                                                 App. Date & No. Owner Name
                                                                                                                            ! Reg. Date &
                                                                                                                            No.
                                         other than beer-based, alcoholic beverages , i.e. hard tea, alcoholic beverages,
                                         namely, hard seltzer, alcoholic beverages, namely, hard seltzer shots, alcoholic
                                         tea-based beverages, alcoholic carbonated beverages, except beer, alcoholic
                                         mixed drinks except beer, alcoholic energy drinks, hard tea, alcohol shots,
                                         alcohol carbonated shot.

MIAMI ENERGY   International Register,   Goods and Services:                                                              Reg 01-JUL-2022     Entourage IP Holdings, EEC
               designating AU, BR, CA,   33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; Reg 1674869          (United States of America)
               CN. CO. EG. EM. GB. ID.   alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
               IN. JP. KR. MX. MY. NO.   energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
               NZ. OM. PH. RU. TH. VN    alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                         alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                         beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                         beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                         shots; alcoholic carbonated shots; alcoholic shots.

MIAMI ENERGY   Peru                      Goods and Services                                                                App 10-MAR-2023    ENTOURAGE IP HOLDINGS.
                                         33 alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer App 10135-2023        EEC. (Colombia)
                                         (alcopop); carbonated alcoholic beverages, except beer; alcoholic cocktail        (2023-010135)
                                         mixes; alcoholic energy drinks; mixed alcoholic beverages, except beers; hard
                                         seltzer (alcopop); premixed alcoholic beverages, not beer-based; prepared
                                         alcoholic cocktail; alcoholic beverages, namely hard tea; hard tea; tea-flavoured
                                         alcoholic beverages, except beers: tea-based alcoholic beverage; ready-to-drink
                                         alcoholic beverages, not beer-based: alcoholic beverages, namely, hard seltzer
                                         (alcopop) shots: carbonated alcoholic shots; alcoholic shots.

MIAMI ENERGY   Peru                      Goods and Services                                                                 App 21-OCT-2022   ENTOURAGE IP HOLDINGS.
                                         33 alcoholic beverages, except beer; alcoholic beverages, namely, hard seitzer     App 974511-2022   EEC. (United States of
                                         (alcopop); carbonated alcoholic beverages, except beer; alcoholic cocktail         (2022-974511)     America)
                                         mixes; alcoholic energy drinks; mixed alcoholic beverages, except beers; hard
                                         seitzer (alcopop); premixed alcoholic beverages, not beer-based; prepared
                                         alcoholic cocktail; alcoholic beverages, namely hard tea; hard tea; tea flavored
                                         alcoholic beverages, except beers; tea-based alcoholic beverage; ready-to-drink
                                         alcoholic beverages, not beer-based; alcoholic beverages, namely, hard seitzer
                                         (alcopop) shots; carbonated alcoholic shots; alcoholic shots.

MIAMI ENERGY   South Africa              Goods and Services:                                                             App 06-JUL-2022      Entourage IP Holdings, EEC, a
                                         33 Alcoholic beverages except beers; Alcoholic beverages, namely, hard seltzer; App 2022/20525       limited liability company
DISCLAIMER                               Alcoholic carbonated beverages, except beer; Alcoholic cocktail mixes;                               organized and existing under




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Mark            Country          Goods and Services                                                                  App. Date & No. Owner Name
                                                                                                                     ! Reg. Date &
                                                                                                                     No.
None                             Alcoholic energy drinks; Alcoholic mixed beverages except beers; Hard seltzer;                        the laws of the State of Florida
                                 Pre-mixed alcoholic beverages, other than beer-based; Prepared alcoholic                              (United States of America)
                                 cocktail; Alcoholic beverages, namely, hard tea; Hard tea; tea-flavored alcoholic
                                 beverages, except beers; Alcoholic tea-based beverage; Ready-to-drink
                                 alcoholic beverages, other than beer-based; Alcoholic beverages, namely, hard
                                 seltzer shots; Alcoholic carbonated shots; Alcoholic shots.

MIAMI ENERGY    Taiwan           Goods and Services:                                                               App ll-JUL-2022     ENTOURAGE IP HOLDINGS.
                                 H033 Alcoholic beverages (other than beer); alcoholic beverages, namely hard App 111048884            LLC (LTnited States of America)
                                 sodas; alcoholic carbonated beverages (other than beer); alcoholic mixed
                                 cocktails; alcoholic energy drinks; alcoholic mixed drinks (other than beer);
                                 hard sodas; Premixed alcoholic beverages not mainly beer; premixed alcoholic
                                 cocktails; alcoholic beverages, namely tea wine; tea wine; tea-flavored alcoholic
                                 beverages (other than beer); alcoholic tea-based beverages; ready-to-drink
                                 alcoholic beverages (not beer-based); alcoholic beverages, namely hard soda
                                 water (sip of wine); alcoholic carbonated drinks; sip of wine

MIAMI UNICORN   Bahrain          Goods and Services                                                                  App 30-NOV-2022      dj dj ‘
                                 33 alcoholic beverages other than beer; alcoholic beverages, in particular          App 137546
                                 sparkling alcoholic beverages; carbonated alcoholic beverages, other than beer;
                                 alcoholic cocktail mixes; alcoholic energy drinks; drinks mixed with alcohol
                                 other than beer; sparkling alcoholic beverage; premixed alcoholic beverages
                                 other than beer-based; prepared alcoholic cocktail; alcoholic beverages, in
                                 particular alcoholic tea; alcoholic tea; tea-flavored alcoholic beverages other
                                 than beer; tea-based alcoholic beverages; ready-to-drink alcoholic beverages
                                 other than those based on beer; alcoholic beverages, in particular sparkling
                                 spirits; soft drink glasses; Alcoholic glasses

MIAMI UNICORN   Bolivia          Goods and Services                                                                  App 01-NOV-2022   Entourage IP Holdings, LLC
                                 33 Alcoholic beverages, except beers; alcoholic beverages, namely, carbonated       App 5132-2022     (United States of America)
                                 alcoholic beverages (hard seltzer); Carbonated alcoholic beverages, except beer;
                                 alcoholic cocktail mixes; alcoholic energy drinks; mixed alcoholic beverages
                                 except beers; alcoholic carbonated beverage; Premixed alcoholic beverages,
                                 other than beer based; Prepared alcoholic cocktail; alcoholic beverage of tea
                                 (hard tea); alcoholic tea; tea flavored alcoholic beverages, except beers; Tea-
                                 based alcoholic beverage; Ready-to-drink alcoholic beverages, other than beer-
                                 based; Alcoholic beverages, namely, carbonated alcoholic beverage shots (hard
                                 seltzer); alcoholic carbonated drinks; alcoholic drinks.




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Mark                   Country             Goods and Services                                                             App. Date & No. Owner Name
                                                                                                                          ! Reg. Date &
                                                                                                                          No.
MIAMI LINICORN         Canada              33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 06-DEC-2022      Entourage IP Holdings, EEC
CompuMark Trademark:                       alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic App 2232087
MIAMI LINICORN                             energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                           alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                           alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                           beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                           beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                           shots; alcoholic carbonated shots; alcoholic shots.

MIAMI UNICORN          Chile               Goods and Services                                                              App 21-OCT-2022      ENTOURAGE IP HOLDINGS.
                                           33 Alcoholic beverages, except beers; alcoholic beverages, namely, hard seltzer App 1521959          EEC (LTnited States of America)
                                           (carbonated alcoholic beverage); carbonated alcoholic beverages, except beers;
                                           alcoholic mixes for cocktails; alcoholic energy drinks; mixed alcoholic
                                           beverages except beers; premixed alcoholic beverages, not beer-based; cocktail
                                           prepared with alcohol; alcoholic beverages, namely, strong tea (malt-based
                                           alcoholic beverage); tea flavored alcoholic beverages, except beers; tea-based
                                           alcoholic beverage; Non-beer-based ready-to-drink alcoholic beverages;
                                           Alcoholic beverages, carbonated alcoholic beverages.

MIAMI UNICORN          Costa Rica          Goods and Services                                                                 App 28-OCT-2022   ENTOURAGE IP HOLDINGS.
                                           33 alcoholic beverages except beers • alcoholic beverages, namely, spirited        App 2022-009516   EEC (LTnited States of America)
                                           seltzer • carbonated alcoholic beverages, except beer • alcoholic cocktail mixes •
                                           alcoholic energy drinks • mixed alcoholic beverages except beers • spirited
                                           seltzer • premixed alcoholic beverages containing non-beer-based • prepared
                                           alcoholic cocktails • alcoholic beverages, namely, alcoholic iced tea • tea-
                                           flavored alcoholic beverages, except beers • tea-based alcoholic beverages •
                                           non-beer-based ready-to-drink alcoholic beverages of beer • alcoholic
                                           beverages, namely, mini shots or shots of alcoholic seltzer water • alcoholic
                                           carbonated shots or cocktails • alcoholic shots or cocktails

MIAMI UNICORN          Ecuador             Goods and Services                                                               App 20-OCT-2022     ENTOURAGE IP HOLDINGS.
                                           33 Alcoholic beverages except beers; alcoholic beverages, especially alcoholic App 2022-82118        EEC (LTnited States of America)
                                           soda; carbonated alcoholic beverages, except beer; alcoholic mixes for
                                           cocktails; alcoholic energy drinks; mixed alcoholic beverages except beers; soda
                                           with alcohol; premixed alcoholic beverages, except beer-based; prepared liqueur
                                           cocktails; alcoholic beverages, especially alcoholic tea; alcoholic tea; tea
                                           flavored alcoholic beverages, except beers; tea-based alcoholic beverages;
                                           ready-to-drink alcoholic beverages, other than beer-based; alcoholic beverages,
                                           especially alcoholic soda shots; carbonated shots with alcohol; shots with




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Mark            Country                   Goods and Services                                                            App. Date & No. Owner Name
                                                                                                                        ! Reg. Date &
                                                                                                                        No.
                                          alcohol

MIAMI UNICORN   Guatemala                 Goods and Services                                                            App 18-OCT-2022       ENTOURAGE IP HOLDINGS.
                                          33 Alcoholic beverages, except beers; alcoholic beverages, namely, hard seltzer; App 2022011311     EEC (United States of America)
                                          carbonated alcoholic beverages, except beer; alcoholic cocktail mixes; alcoholic
                                          energy drinks; mixed alcoholic beverages, except beers; hard seltzer; premixed
                                          alcoholic beverages, other than beer-based prepared alcoholic cocktails;
                                          alcoholic beverages, namely hard tea; hard tea; tea flavored alcoholic beverages,
                                          except beers; tea-based alcoholic beverage; ready-to-drink alcoholic beverages,
                                          other than beer-based; alcoholic beverages, namely, hard seltzer shots; sparkling
                                          alcoholic shots; alcoholic shots.

MIAMI UNICORN   India                     Goods and Services:                                                              App 06-DEC-2022    Entourage IP Holdings, EEC
                                          33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 5756000         Body Incorporate (United States
                                          alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic                    of America)
                                          energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                          alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                          alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                          beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                          beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                          shots; alcoholic carbonated shots; alcoholic shots.

MIAMI UNICORN   Indonesia                 Goods and Services                                                                App 06-DEC-2022   ENTOURAGE IP HOLDINGS.
                                          33 Alcoholic cocktail mixes, prepared alcoholic cocktails, alcoholic beverages App                  EEC (United States of America)
                                          excluding beer, pre-mixed alcoholic beverages, other than beer-based, tea-        M0020231706328
                                          flavoured alcoholic beverages, excluding beer, ready-to-drink alcoholic
                                          beverages, other than beer-based, alcoholic beverages, namely hard seltzer,
                                          alcoholic beverages, namely, hard seltzer shots, alcoholic beverages, namely,
                                          strong tea, alcoholic tea-based drinks, alcoholic carbonated drinks, except beer,
                                          alcoholic mixed drinks except beer, alcoholic energy drinks, hard seltzer, strong
                                          tea, alcoholic shots, alcohol carbonated shots .

MIAMI UNICORN   International Register,   Goods and Services:                                                              Reg 06-DEC-2022    Entourage IP Holdings, EEC
                designating AE, AU, BR,   33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; Reg 1706328         (United States of America)
                CA. CN. EG. EM. GB. ID.   alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
                IN. JP. KR. MX. MY. NO.   energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                NZ. OM. PH. RU. TH. VN    alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                          alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                          beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic




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Mark            Country               Goods and Services                                                              App. Date & No. Owner Name
                                                                                                                      ! Reg. Date &
                                                                                                                      No.
                                      beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                      shots; alcoholic carbonated shots; alcoholic shots.

MIAMI UNICORN   Pern                  Goods and Services                                                                App 10-MAR-2023   ENTOURAGE IP HOLDINGS.
                                      33 alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer App 10132-2023       LLC. (Colombia)
                                      (alcopop); carbonated alcoholic beverages, except beer; alcoholic cocktail        (2023-010132)
                                      mixes; alcoholic energy drinks; mixed alcoholic beverages, except beers; hard
                                      seltzer (alcopop); premixed alcoholic beverages, not beer-based; prepared
                                      alcoholic cocktail; alcoholic beverages, namely hard tea; hard tea; tea-flavoured
                                      alcoholic beverages, except beers: tea-based alcoholic beverage; ready-to-drink
                                      alcoholic beverages, not beer-based: alcoholic beverages, namely, hard seltzer
                                      (alcopop) shots: carbonated alcoholic shots; alcoholic shots.

MIAMI UNICORN   South Africa          Goods and Services:                                                               App 06-JUL-2022   Entourage IP Holdings, LLC, a
                                      33 Alcoholic beverages except beers; Alcoholic beverages, namely, hard seltzer; App 2022/20537      limited liability company
DISCLAIMER                            Alcoholic carbonated beverages, except beer; Alcoholic cocktail mixes;                              organized and existing under
None                                  Alcoholic energy drinks; Alcoholic mixed beverages except beers; Hard seltzer;                      the laws of the State of Florida
                                      Pre-mixed alcoholic beverages, other than beer-based; Prepared alcoholic                            (United States of America)
                                      cocktail; Alcoholic beverages, namely, hard tea; Hard tea; tea-flavored alcoholic
                                      beverages, except beers; Alcoholic tea-based beverage; Ready-to-drink
                                      alcoholic beverages, other than beer-based; Alcoholic beverages, namely, hard
                                      seltzer shots; Alcoholic carbonated shots; Alcoholic shots.

MIAMI UNICORN   Taiwan                Goods and Services:                                                             App 20-DEC-2022     ENTOURAGE IP HOLDINGS.
                                      H033 Alcoholic beverages (other than beer); alcoholic beverages, namely hard App 111091427          LLC (United States of America)
                                      sodas; alcoholic carbonated beverages (other than beer); alcoholic mixed
                                      cocktails; alcoholic energy drinks; alcoholic mixed drinks (other than beer);
                                      hard sodas; Premixed alcoholic beverages not mainly beer; premixed alcoholic
                                      cocktails; alcoholic beverages, namely tea wine; tea wine; tea-flavored alcoholic
                                      beverages (other than beer); alcoholic tea-based beverages; ready-to-drink
                                      alcoholic beverages (not beer-based); alcoholic beverages, namely hard soda
                                      water (sip of wine); alcoholic carbonated drinks; sip of wine.

MIXED           Peru                  Goods and Services                                                              App 22-APR-2021     ENTOURAGE IP HOLDINGS.
                                      33 alcoholic beverages, except beer; alcoholic beverages, namely hard soft      App 894217-2021     LLC. (United States of
                                      drinks; carbonated alcoholic beverages, except beer; alcoholic energy drinks;   (2021-894217)       America)
                                      hard seltzer (alcopop); prepared alcoholic cocktail.                            Reg 14-SEP-2021
                                                                                                                      Reg P00314569




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Mark                   Country            Goods and Services                                                               App. Date & No. Owner Name
                                                                                                                           ! Reg. Date &
                                                                                                                           No.
MIXX                   Peru               Goods and Services                                                               App 22-APR-2021   ENTOURAGE IP HOLDINGS.
                                          33 alcoholic beverages, except beer; alcoholic beverages, namely hard soft       App 894215-2021   LLC. (LTnited States of
                                          drinks; carbonated alcoholic beverages, except beer; alcoholic energy drinks;    (2021-894215)     America)
                                          hard seltzer (alcopop); prepared alcoholic cocktail.                             Reg 14-SEP-2021
                                                                                                                           Reg P00314568

PLANET POMEGRANATE     Argentina          Goods and Services                                     App 30-SEP-2021                             ENTOURAGE IP HOLDINGS.
                                          33 Class 33: International Limited                     App 4058065                                 LLC (United States of America)
                                          ALCOHOLIC BEVERAGES ONLY. EXCEPT BEER; ALCOHOLIC
                                          BEVERAGES. NAMELY. CARBONATED ALCOHOLIC BEVERAGES
                                          (HARD SELTZER); CARBONATED ALCOHOLIC BEVERAGES. EXCEPT
                                          BEER; ALCOHOLIC MIXES FOR COCKTAILS; ALCOHOLIC ENERGY
                                          DRINKS; ALCOHOLIC BLENDED BEVERAGES. EXCEPT BEERS;
                                          SPARKLING ALCOHOLIC BEVERAGES (HARD SELTZER); PREMIXED
                                          ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED
                                          ALCOHOLIC COCKTAIL; ALCOHOLIC BEVERAGES. NAMELY. HARD
                                          TEA [ALCOHOLIC BEVERAGES]; HARD TEA [ALCOHOLIC
                                          BEVERAGE]; TEA-FLAVOR ALCOHOLIC BEVERAGES. EXCEPT
                                          BEERS; TEA-BASED ALCOHOLIC BEVERAGES; READY-TO-DRINK
                                          ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; ALCOHOLIC
                                          BEVERAGES, NAMELY, HARD SELTZER SHOTS [CARBONATED
                                          ALCOHOLIC BEVERAGES]; GASIFIED ALCOHOLIC SHORT DRINKS;
                                          SHORT ALCOHOLIC DRINKS;

PLANET POMEGRANATE     Canada             33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 04-MAY-2021    Entourage IP Holdings, LLC
CompuMark Trademark:                      alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic App 2119391
PLANET POMEGRANATE                        energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                          alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                          alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                          beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                          beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                          shots; alcoholic carbonated shots; alcoholic shots.

PLANET POMEGRANATE     Chile              Goods and Services Computerised Translation:                                     App 24-SEP-2021   ENTOURAGE IP HOLDINGS.
                                          33 Alcoholic beverages, except beers; carbonated alcoholic beverages; cocktail   App 1476091       LLC (United States of America)
                                          combinations with alcohol; energy drinks with alcohol; mixed alcoholic           Reg 22-AUG-2022
                                          beverages, except beers; premixed alcoholic beverages, not based on beer;        Reg 1378543
                                          prepared alcohol cocktail; alcoholic beverages, namely strong tea (malt-based
                                          alcoholic beverage); strong tea (alcoholic beverage based on malt); alcoholic



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Mark                 Country                   Goods and Services                                                                 App. Date & No. Owner Name
                                                                                                                                  ! Reg. Date &
                                                                                                                                  No.
                                               beverages flavored with tea, except beers; tea-based alcoholic beverages; ready-
                                               to-drink alcoholic beverages, other than beer-based; drinks with alcohol.

PLANET POMEGRANATE   Colombia                  Goods and Services Computerised Translation:                                       App 04-MAY-2021   ENTOURAGE IP HOLDINGS.
                                               33 products to drink with alcohol, except beers; alcoholic beverages, namely     App                 LLC (LTnited States of America)
                                               hard seltzer; carbonated alcoholic beverages, except beer; mixes with alcohol    SD20210063831
                                               for cocktails; energy drinks with alcohol; mixed alcoholic beverages, except     Reg 17-MAR-2022
                                               beers; hard seltzer (fennented carbonated drinks); mixed alcoholic beverages     Reg 705361
                                               not based on beer; cocktails with alcohol; alcoholic beverages, namely alcoholic
                                               tea; alcoholic teas; alcoholic beverages flavored with tea, except beers; tea-
                                               based alcoholic beverages; ready-to-drink alcoholic beverages, other than beer-
                                               based; alcoholic beverages, namely alcoholic seltzer drinks; alcoholic
                                               carbonated drinks; energy drinks with alcohol.

PLANET POMEGRANATE   India                     Goods and Services:                                                              App 04-MAY-2021     ENTOURAGE IP HOLDINGS.
                                               33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; App 5047422          LLC Body Incorporate (United
                                               alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic                     States of America)
                                               energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                               alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                               alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                               beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                               beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                               shots; alcoholic carbonated shots; alcoholic shots.

PLANET POMEGRANATE   International Register,   Goods and Services:                                                              Reg 04-MAY-2021     Entourage IP Holdings, LLC
                     designating AU, BR, CA,   33 Alcoholic beverages except beers; alcoholic beverages, namely, hard seltzer; Reg 1601368          (United States of America)
                     CH. CN. CO. EM. GB. IL.   alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
                     IN. IS. JP. KR. MX. MY.   energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                     NO. NZ. PH. TR            alcoholic beverages, other than beer-based; prepared alcoholic cocktail;
                                               alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic
                                               beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                                               beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                               shots; alcoholic carbonated shots; alcoholic shots.

PLANET POMEGRANATE   Peru                      Goods and Services Computerised Translation:                                       App 18-SEP-2021   ENTOURAGE IP HOLDINGS.
                                               33 alcoholic beverages, except beer; alcoholic beverages, namely hard seltzer      App 915342-2021   LLC (United States of America)
                                               (alcopop); carbonated alcoholic beverages, except beer; alcoholic mixes for        (2021-915342)
                                               cocktails; alcoholic energy drinks; mixed alcoholic beverages, except beers;       Reg 09-DEC-2021
                                               premixed alcoholic beverages, not based on beer; prepared alcoholic cocktail;      Reg P00318276




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Mark                 Country               Goods and Services                                                                App. Date & No. Owner Name
                                                                                                                             ! Reg. Date &
                                                                                                                             No.
                                           alcoholic beverages, namely hard tea; alcoholic beverages flavored with tea,
                                           except beers; tea-based alcoholic beverage; ready-to-drink alcoholic beverages,
                                           not based on beer; shots (shots), namely alcoholic beverages.

PLANET POMEGRANATE   South Africa          Goods and Services:                                                               App 05-MAY-2021   Entourage IP Holdings, LLC, a
                                           33 Alcoholic beverages except beers; Alcoholic beverages, namely, hard seltzer; App 2021/12953      limited liability company
DISCLAIMER                                 Alcoholic carbonated beverages, except beer; Alcoholic cocktail mixes;                              organized and existing under
None                                       Alcoholic energy drinks; Alcoholic mixed beverages except beers; Hard seltzer;                      the laws of the State of Florida
                                           Pre-mixed alcoholic beverages, other than beer-based; Prepared alcoholic                            (United States of America)
                                           cocktail; Alcoholic beverages, namely, hard tea; Hard tea; tea-flavored alcoholic
                                           beverages, except beers; Alcoholic tea-based beverage; Ready-to-drink
                                           alcoholic beverages, other than beer-based; Alcoholic beverages, namely, hard
                                           seltzer shots; Alcoholic carbonated shots; Alcoholic shots.

vooz                 Colombia              Goods and Services                                                               App 25-JAN-2023    ENTOURAGE IP HOLDINGS.
                                           33 alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer App                  LLC (United States of America)
                                           water; carbonated alcoholic beverages, except beer; carbonated alcoholic         SD20230005072
                                           beverages, except beer; alcoholic cocktail mixes; alcoholic energy drinks; mixed
                                           alcoholic beverages, except beers; premixed alcoholic beverages, except beer-
                                           based; prepared alcoholic cocktails.

WYLDIN’ WATERMELON Argentina               Goods and Services                                       App 30-SEP-2021                            ENTOURAGE IP HOLDINGS.
WYLDfN WATERMELON                          33 Class 33: International Limited                       App 4058066                                LLC (United States of America)
                                           ALCOHOLIC BEVERAGES ONLY. NAMELY. HARD TEA [ALCOHOLIC
                                           BEVERAGES]; HARD TEA [ALCOHOLIC BEVERAGE]; TEA-FLAVOR
                                           ALCOHOLIC BEVERAGES. EXCEPT BEERS; TEA-BASED ALCOHOLIC
                                           BEVERAGES; READY-TO-DRINK ALCOHOLIC BEVERAGES. OTHER
                                           THAN BEER-BASED; ALCOHOLIC BEVERAGES. NAMELY. HARD
                                           SELTZER SHOTS [CARBONATED ALCOHOLIC BEVERAGES];
                                           GASIFIED ALCOHOLIC SHORT DRINKS; SHORT ALCOHOLIC DRINKS;

WYLDIN' WATERMELON Argentina               Goods and Services                                                                App 16-JUL-2021   ENTOURAGE IP HOLDINGS.
WYLDIN WATERMELON                          33 Class 33: International Limited                                                App 4033474       LLC (United States of America)
                                           ONLY MANUALLY ENTRY TERMS: ALCOHOLIC BEVERAGES.
                                           EXCEPT BEER; ALCOHOLIC BEVERAGES. TO KNOW. CARBONATED
                                           ALCOHOLIC BEVERAGES. EXCEPT BEER; ALCOHOLIC MIXTURES
                                           FOR COCKTAILS; ENERGY ALCOHOLIC BEVERAGES; MIXED
                                           ALCOHOLIC BEVERAGES. EXCEPT BEERS; GASIFIED ALCOHOLIC
                                           BEVERAGE; PRE-MIXED ALCOHOLIC BEVERAGES. OTHER THAN




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Mark                        Country          Goods and Services                                                                App. Date & No. Owner Name
                                                                                                                               ! Reg. Date &
                                                                                                                               No.
                                             THOSE BASED ON BEER; PREPARED ALCOHOLIC COCKTAIL;

WYLDIN' WATERMELON          Canada           Wares and Services:                                                               App 04-MAY-2021   Entourage IP Holdings, LLC
CompuMark Trademark:                         (1) Alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic       App 2120838
WYLDIN' WATERMELON                           beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
Cross References: WYLDINg                    beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
WATERMELON                                   shots; alcoholic carbonated shots; alcoholic shots.

WYLDIN' WATERMELON          Canada           Wares and Services:                                                              App 06-APR-2021    Entourage IP Holdings, LLC
CompuMark Trademark:                         (1) Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; App 2109940
WYLDIN' WATERMELON                           alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
Cross References: WiLDINg                    energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
WATERMELON                                   alcoholic beverages, other than beer-based; prepared alcoholic cocktail.

WYLDIN' WATERMELON Chile                     Goods and Services                                                                App 24-SEP-2021   ENTOURAGE IP HOLDINGS.
                                             33 Alcoholic beverages, namely strong tea (malt-based alcoholic beverage);       App 1476084        LLC (United States of America)
                                             strong tea (alcoholic beverage based on malt); alcoholic beverages flavored with Reg 27-FEB-2023
                                             tea, except beers; tea-based alcoholic beverages; ready-to-drink alcoholic       Reg 1389513
                                             beverages, other than beer-based; alcoholic beverages, namely carbonated
                                             alcoholic beverages; drinks with alcohol.

WYLDIN' WATERMELON Chile                     Goods and Services                                                                App 02-AUG-2021   ENTOURAGE IP HOLDINGS,
                                             33 Alcoholic beverages, except beers; carbonated alcoholic beverages, except      App 1468199       LLC (United States of America)
                                             beers; alcoholic cocktail mixes; alcoholic energy drinks; mixed alcoholic         Reg 30-NOV-2022
                                             beverages, except beers; non-beer based premixed alcoholic beverages;             Reg 1384124
                                             alcoholic cocktails.

WYLDIN' WATERMELON Colombia                  Goods and Services                                                               App 04-MAY-2021    ENTOURAGE IP HOLDINGS.
                                             33 alcoholic beverages, namely alcoholic tea; alcoholic teas; alcoholic          App                LLC (United States of America)
                                             beverages flavored with tea, except beers; tea-based alcoholic beverages; ready- SD20210066409
                                             to-drink alcoholic beverages, other than beer-based; alcoholic beverages,        Reg 11-MAY-2022
                                             namely alcoholic seltzer drinks; alcoholic carbonated drinks; energy drinks with Reg 710116
                                             alcohol.

WYLDIN' WATERMELON Colombia                  Goods and Services                                                                App 06-APR-2021   ENTOURAGE IP HOLDINGS.
                                             33 alcoholic beverages, except beer; alcoholic beverages, namely hard seltzer;    App               LLC (United States of America)
                                             soft drinks with alcohol, except beer; mixes with alcohol for cocktails; energy   SD20210050317
                                             drinks with alcohol; mixed alcoholic beverages, except beers; hard seltzer        Reg 03-JAN-2022
                                             (fennented carbonated drinks); mixed alcoholic beverages not based on beer;       Reg 700171
                                             cocktails with alcohol.




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Mark                    Country                  Goods and Services                                                                App. Date & No. Owner Name
                                                                                                                                   ! Reg. Date &
                                                                                                                                   No.
WYLDIN' WATERMELON India                         Goods and Services:                                                               App 04-MAY-2021   Entourage IP Holdings, EEC
                                                 33 Alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic        App 5061500       Body Incorporate (United States
                                                 beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic                     of America)
                                                 beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                                                 shots; alcoholic carbonated shots; alcoholic shots.

WYLDIN' WATERMELON India                         Goods and Services:                                                              App 06-APR-2021    ENTOURAGE IP HOLDINGS.
                                                 33 Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; App 4989915         EEC Body Incorporate (United
                                                 alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic                    States of America)
                                                 energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                                 alcoholic beverages, other than beer-based; prepared alcoholic cocktail.

WYLDIN' WATERMELON International Register,       Goods and Services:                                                               Reg 04-MAY-2021   Entourage IP Holdings, EEC
                   designating AU, BR, CA,       33 Alcoholic beverages, namely, hard tea; hard tea; tea-flavored alcoholic        Reg 1601492       (United States of America)
                   CH. CN. CO. EM. GB. IL.       beverages, except beers; alcoholic tea-based beverage; ready-to-drink alcoholic
                   IN. IS. JP. KR. MX. MY.       beverages, other than beer-based; alcoholic beverages, namely, hard seltzer
                   NO. NZ. PH. TR                shots; alcoholic carbonated shots; alcoholic shots.

WYLDIN' WATERMELON International Register,       Goods and Services:                                                               Reg 06-APR-2021   Entourage IP Holdings, EEC
                   designating AU, BH, BR,       33 Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; Reg 1593029         (United States of America)
                   CA. CH. CN. CO. EM. GB.       alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
                   IL. IN. IR. IS. JP. KR. MX.   energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                   MY. NO. NZ. PH. TR            alcoholic beverages, other than beer-based; prepared alcoholic cocktail.

WYLDIN' WATERMELON Peru                          Goods and Services                                                               App 28-APR-2022    ENTOURAGE IP HOLDINGS.
                                                 33 alcoholic beverages, except beer; alcoholic beverages, namely hard tea; tea   App 947964-2022    EEC. (United States of
                                                 flavored alcoholic beverages, except beers; tea-based alcoholic beverage; ready- (2022-947964)      America)
                                                 to-drink alcoholic beverages, not beer-based; alcoholic beverages, namely
                                                 carbonated alcoholic beverages, except beer; hard seltzer (alcopop); non-beer
                                                 based pre-mixed alcoholic beverages; shots, namely, carbonated alcoholic
                                                 beverages; drinks (shots), namely, alcoholic beverages; alcoholic mixes for
                                                 cocktails; alcoholic energy drinks; mixed alcoholic beverages, except beers;
                                                 prepared alcoholic cocktail.

WYLDIN' WATERMELON Peru                          Goods and Services                                                                App 20-JUL-2021   ENTOURAGE IP HOLDINGS.
                                                 33 alcoholic beverages, except beer; alcoholic beverages, namely carbonated       App 906722-2021   EEC. (United States of
                                                 alcoholic beverages, except beer; alcoholic mixes for cocktails; alcoholic energy (2021-906722)     America)
                                                 drinks; mixed alcoholic beverages, except beers; hard seltzer (alcopop); pre -    Reg 12-AUG-2022
                                                 mixed alcoholic beverages other than beer based; prepared alcoholic cocktail.     Reg P00329951




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Mark                  Country                     Goods and Services                                                              App. Date & No. Owner Name
                                                                                                                                  ! Reg. Date &
                                                                                                                                  No.
WYLDIN' WATERMELON Peru                           Goods and Services                                                              App 18-SEP-2021   ENTOURAGE IP HOLDINGS.
                                                  33 alcoholic beverages, namely, hard you; alcoholic beverages flavored with     App 915343-2021   EEC. (United States of
                                                  tea, except beers; tea-based alcoholic beverage; ready-to-drink alcoholic       (2021-915343)     America)
                                                  beverages, not based on beer; hard seltzer (alcopop), namely premixed alcoholic
                                                  beverages; shots (shots), namely carbonated alcoholic beverages; shots (shots),
                                                  namely alcoholic beverages.

WYLDIN' WATERMELON South Africa                   Goods and Services:                                                             App 05-MAY-2021   Entourage IP Holdings, EEC, a
                                                  33 Alcoholic beverages, namely, hard tea; Hard tea; tea-flavored alcoholic      App 2021/12956    limited liability company
DISCLAIMER                                        beverages, except beers; Alcoholic tea-based beverage; Ready-to-drink                             organized and existing under
None                                              alcoholic beverages, other than beer-based; Alcoholic beverages, namely, hard                     the laws of the State of Florida
                                                  seltzer shots; Alcoholic carbonated shots; Alcoholic shots.                                       (United States of America)

WYLDIN' WATERMELON South Africa                   Goods and Services:                                                             App 07-APR-2021   Entourage IP Holdings, EEC, a
                                                  33 Alcoholic beverages, except beer; Alcoholic beverages, namely, hard seltzer; App 2021/10039    limited liability company
DISCLAIMER                                        Alcoholic carbonated beverages, except beer; Alcoholic cocktail mixes;                            organized and existing under
None                                              Alcoholic energy drinks; Alcoholic mixed beverages except beers; Hard seltzer;                    the laws of the State of Florida
                                                  Pre-mixed alcoholic beverages, other than beer-based; Prepared alcoholic                          (United States of America)
                                                  cocktail.

YES                   Argentina                   Goods and Services                                                              App 30-SEP-2021   ENTOURAGE IP HOLDINGS.
                                                  33 Class 33: International Limited                     App 4058069                                EEC (United States of America)
                                                  ALCOHOLIC BEVERAGES ONLY. EXCEPT BEER; ALCOHOLIC
                                                  BEVERAGES. NAMELY. CARBONATED ALCOHOLIC BEVERAGES
                                                  (HARD SELTZER); CARBONATED ALCOHOLIC BEVERAGES. EXCEPT
                                                  BEER; ALCOHOLIC MIXES FOR COCKTAILS; ALCOHOLIC ENERGY
                                                  DRINKS; ALCOHOLIC BLENDED BEVERAGES. EXCEPT BEERS;
                                                  SPARKLING ALCOHOLIC BEVERAGES (HARD SELTZER); PREMIXED
                                                  ALCOHOLIC BEVERAGES. OTHER THAN BEER-BASED; PREPARED
                                                  ALCOHOLIC COCKTAIL;

YES                   Chile                       Goods and Services                                                              App 22-SEP-2021   ENTOURAGE IP HOLDINGS.
                                                  33 Carbonated alcoholic beverages, except beer; alcoholic cocktail mixes;       App 1475634       EEC (United States of America)
                                                  alcoholic energy drinks; mixed alcoholic beverages, except beer; premixed
                                                  alcoholic beverages, not beer-based; cocktails prepared with alcohol.

YES                   International Registration, Goods and Services                                                              Reg 23-APR-2021   ENTOURAGE IP HOLDINGS.
                      designating AU, BH, BR,     33 Alcoholic beverages, except beer; alcoholic beverages, namely, hard seltzer; Reg 1596761       EEC (United States of America)
                      CA. CH. CN. CO. EM. GB. alcoholic carbonated beverages, except beer; alcoholic cocktail mixes; alcoholic
                      IL. IN. IR. IS. JP. KR. MX.



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Mark                   Country               Goods and Services                                                               App. Date & No. Owner Name
                                                                                                                              ! Reg. Date &
                                                                                                                              No.
                       MY. NO. NZ. PH. TR    energy drinks; alcoholic mixed beverages except beers; hard seltzer; pre-mixed
                                             alcoholic beverages, other than beer-based; prepared alcoholic cocktail

YES                    Pern                  Goods and Services                                                               App 18-SEP-2021   ENTOURAGE IP HOLDINGS.
                                             33 alcoholic beverages, except beer; alcoholic beverages, namely hard seltzer    App 915346-2021   EEC (United States of America)
                                             (alcopop); carbonated alcoholic beverages, except beer; alcoholic mixes for
                                             cocktails; alcoholic energy drinks; mixed alcoholic beverages, except beers;
                                             premixed alcoholic beverages, not based on beer; prepared alcoholic cocktail.

YES                    South Africa          Goods and Services:                                                             App 26-APR-2021    Entourage IP Holdings, EEC, a
                                             33 Alcoholic beverages, except beer; Alcoholic beverages, namely, hard seltzer; App 2021/11856     limited liability company
DISCLAIMER                                   Alcoholic carbonated beverages, except beer; Alcoholic cocktail mixes;                             organized and existing under
None                                         Alcoholic energy drinks; Alcoholic mixed beverages except beers; Hard seltzer;                     the laws of the State of Florida
                                             Pre-mixed alcoholic beverages, other than beer-based; Prepared alcoholic                           (United States of America)
                                             cocktail.




      Entourage IP Holdings’ unregistered Intellectual Property as it relates to Intellectual Property not incorporated in the
                                                 immediately preceding chart.

        Entourage IP Holdings’ unregistered Intellectual Property rights as it relates to Intellectual Property not incorporated in
        immediately preceding chart, including:

        (a) rights associated with works of authorship, including exclusive exploitation rights, mask work rights, copyrights,
        copyrightable subject matter, and moral and similar attribution rights, including for can art and packaging design;

        (b) rights associated with trademarks, trade dress, service marks, trade names, and design rights, including all common law
        rights;

        (c) proprietary rights in internet domain names, IP addresses, social media and third-party website handles, pages, and
        accounts including the access information for the same;




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(d) trade secrets including formulas, recipes, and ingredients lists including the access information for the same, know-how,
technical data, processes, techniques, lists of or information relating to suppliers and customers, pricing lists and
methodologies, cost and market share data, marketing and business plans, financial forecasts and histories, and budgets;

(e) patents, design patents, utility models, industrial design and other industrial property rights; and

(f) rights of publicity.




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                                             Cognitive IP
                                            Holdings, LLC
                                              (Florida)
                                                                 JHO Real Estate
                                                                 Investment, LLC
                                                                     (Florida)


                                                               Sheridan Real Estate
                                                                                   I
                                                                Investment A, LLC
                                                                     (Florida)


                                                               Sheridan Real Estate
                                                                Investment B, LLC
                                                                     (Florida)


Bang Energy Mexico S.    Bang Energy                           Sheridan Real Estate
   DE R.L. de C.V.      Costa Rica LTDA                         Investment C, LLC        Stoked Seltzer, LLC   Stoked Brands, LLC
                                                                                              (Florida)             (Florida)
      (Mexico)            (Costa Rica)                               (Florida)




  Bang Energy VPX         Bang Energy
Sports Ecuador S.A.S.    Colombia SAS
      (Ecuador)            (Colombia)
